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  Bruce A. Anderson, ISB #3392
  ELSAESSER ANDERSON, CHTD.
  320 East Neider Avenue, Suite 102
  Coeur d'Alene, ID 83815
  Telephone: (208) 667-2900
  Facsimile: (208) 667-2900
  Email: brucea@eaidaho.com

  Julian Gurule (Admitted Pro Hac Vice)
  O’MELVENY & MYERS LLP
  400 South Hope Street, Suite 1900
  Los Angeles, CA 90071
  Telephone: (213) 430-6000
  Facsimile: (213) 430-6407
  Email: jgurule@omm.com

  -and-

  Matthew Kremer (Admitted Pro Hac Vice)
  Gabriel L. Olivera (Admitted Pro Hac Vice)
  1301 Avenue of the Americas, Suite 1700
  New York, NY 10019
  Telephone: (212) 326-2000
  Facsimile: (212) 326-2061
  Email: mkremer@omm.com
         golivera@omm.com

  Attorneys for the Official Committee of
  Unsecured Creditors


                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO


  In re:

  MILLENKAMP CATTLE, INC.,                       Case No. 24-40158-NGH

                        Debtors.


                                                 Jointly Administered With
  Filing relates to:
                                                 Case Nos.:
     ALL DEBTORS
     Millenkamp Cattle, Inc.                     24-40159-NGH (Idaho Jersey Girls)
     Idaho Jersey Girls                          24-40160-NGH (East Valley Cattle)
     East Valley Cattle                          24-40161-NGH (Millenkamp Properties)

 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
 COMPENSATION AND REIMBURSEMENT OF EXPENSES - 1
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     Millenkamp Properties                          24-40162-NGH (Millenkamp Properties II)
     Millenkamp Properties II                       24-40163-NGH (Millenkamp Family)
     Millenkamp Family                              24-40164-NGH (Goose Ranch)
     Goose Ranch                                    24-40166-NGH (Black Pine Cattle)
     Black Pine Cattle                              24-40167-NGH (Millenkamp Enterprises)
     Millenkamp Enterprises                         24-40165-NGH (Idaho Jersey Girls Jerome
     Idaho Jersey Girls Jerome Dairy                Dairy)


   FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND
 PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES
            FOR THE PERIOD MAY 21, 2024 THROUGH JULY 31, 2024

        The law firm O’Melveny & Myers LLP (the “Firm”), applies to the Court for allowance of

 attorneys’ fees and costs pursuant to 11 U.S.C. §§ 330 and 331. The Firm respectfully represents

 as follows:

        1.      The Firm is counsel to the Official Committee of Unsecured Creditors (the

 “Committee”) for Millenkamp Cattle, Inc., et al. the debtors in the above captioned cases (the

 “Debtors”) and hereby submits this first application (the “Application”) for allowance and

 payment of interim compensation and reimbursement of expenses for the period May 21, 2024

 through July 31, 2024 (the “First Interim Period”) in accordance with the Order Establishing

 Interim Fee Application and Expense Reimbursement Procedures [ECF No. 303] entered by the

 Court on May 16, 2024 (the “Order Establishing Interim Fee Procedures”).

        2.      All services for which compensation is requested by the Firm were performed for

 an on behalf of the Committee, and not on behalf of any Debtor, creditor, or other person. Each

 professional involved in the services for which compensation is requested are specifically

 identified on the summary sheet attached hereto as Exhibit A and incorporated herein by reference.

        3.      Payment of the attorneys’ fees and costs and the payment of these fees and costs

 should be made pursuant to the details in the Application of Official Committee of Unsecured

 Creditors to Employ O’Melveny & Myers LLP as lead counsel to the Official Committee of


 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
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 Unsecured Creditors Nunc Pro Tunc to May 21, 2024 [ECF No. 335] (the “Application to

 Employ”).

        4.      The Firm has rendered services to the Committee in the manner described on the

 invoices attached hereto as Exhibit B. Further, the Firm sustained, and incurred expenses and/or

 costs described and itemized in the statement attached hereto as Exhibit B, in connection with the

 Firm’s function and activities as attorney for the Committee. A narrative summary of professionals’

 fees and expenses is attached hereto as Exhibit C.

        5.      The fees requested by this Application shall not be shared with any other party

 outside the Firm.

        6.      The rate of compensation of the attorneys was detailed in the Application to

 Employ, which application was approved by Court order on July 22, 2024 [ECF No. 513]. In

 conformity with that rate (which is subject to adjustment annually), the reasonable value of the

 services rendered by the Firm as attorney for the Committee in this case, including costs/expenses

 and disbursements incurred, since the Firm’s engagement by the Committee is $371,370.87. Of

 that amount, there remains $155,648.24 in unpaid amounts, pending no objections to the Firm’s

 July 2024 Cover Sheet Application.

        7.      Pursuant to the Order Establishing Interim Fee Procedures, the Firm has incurred

 and the Debtors have paid the following fees and expenses:

                     Fees             Expenses
  Period                                               Fees Paid             Expenses Paid
                     Requested        Requested
  May 21, 2024
  - May 31,            $107,296.77             $0.00           $80,472.58                   $0.00
  2024
  June 1, 2024 -
                       $178,618.15        $1,286.44           $133,963.61               $1,286.44
  June 30, 2024
  July 1, 2024 -
                        $83,145.30        $1,024.21                  $0.00                  $0.00
  July 31, 2024


 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
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        8.      The Firm has received a total of $215,722.63, representing 75% of fees and 100%

 of expenses incurred during the first two months of the First Interim Period. The total outstanding

 fees due during the First Interim Period is $155,648.24, which represents the 25% hold back

 amounts of May and June 2024, pursuant to the Order Establishing Interim Procedures, and the

 entire amount owed to the Firm for July 2024.

        9.      Accordingly, the Firm seeks approval of the total fees of $369,060.22 and total

 expenses of $2,310.65 incurred during the First Interim Period. The Firm further requests the Court

 allow payment of the outstanding fees incurred during the Interim Fee Period totaling $371,370.87,

 to be paid by the Debtors.

        10.     Attached as Exhibit A hereto is a schedule showing the name of each professional

 who performed services in connection with this case during the Application Period, the hours

 billed, and the hourly rate charged, together with a description of the expenses incurred in the

 Application Period, broken down by category.

        11.     Pursuant to Paragraph C.5 of the Revised U.S. Trustee Guidelines, the Firm states

 as follows:

                Question:      Did you agree to any variations from, or alternatives to, your
                               standard or customary billing rates, fees or terms for services
                               pertaining to this engagement that were provided during the
                               application period? If so, please explain.

                Response:      Yes, as detailed in the Application to Employ, the Firm agreed to a
                               voluntary 15% discount for fees charged in connection with services
                               provided to the Committee in the above-captioned matter.

                Question:      If the fees sought in this fee application as compared to the fees
                               budgeted for the time period covered by this fee application are
                               higher by 10% or more, did you discuss the reasons for the variation
                               with the client?

                Response:      Not applicable.



 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
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                Question:     Have any of the professionals included in this fee application varied
                              their hourly rate based on the geographic location of the bankruptcy
                              case?

                Response:     No.

                Question:     Does the fee application include time or fees related to reviewing or
                              revising time records or preparing, reviewing, or revising invoices?

                Response:     Yes.

                Question:     Does this fee application include time or fees for reviewing time
                              records to redact any privileged or other confidential information?
                              If so, please quantify by hours and fees.

                Response:     Yes. 2.7 hours. $3,415.50.

                Question:     If the fee application includes any rate increases since retention, did
                              the client (i) review and approve those rate increases in advance, and
                              (ii) agree when retaining the law firm to accept all future rate
                              increases?

                Response:     The application does not include any rate increases since retention.

        WHEREFORE, the Firm respectfully requests that the Court enter an order (i) allowing

 the sum of $371,370.87 for time and services rendered on the Committee’s behalf during the First

 Interim Period and (ii) allowing payment of the outstanding amounts owed to the Firm, totaling

 $155,648.24.



         Date: August 29, 2024                      /s/ Julian Gurule
                                                    O’MELVENY & MYERS LLP
                                                    Julian Gurule

                                                    /s/ Bruce A. Anderson
                                                    ELSAESSER ANDERSON, CHTD.
                                                    Bruce A. Anderson

                                                    Attorneys for the Official Committee
                                                    of Unsecured Creditors




 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 30, 2024, I electronically filed with the Clerk of the
 Court a copy of the foregoing in the above-captioned matter, using the CM/ECF system, which
 sent a Notice of Electronic Filing to the following person(s):

   Matthew T. Christensen                          mtc@johnsonmaylaw.com
   U.S. Trustee                                    ustp.region18.bs.ecf@usdoj.gov
   Aaron R. Bell                                   abell@evanskeane.com
   Morton R. Branzburg                             mbranzburg@klehr.com
   Heidi B. Morrison                               heidi@racineolson.com
   Laura E. Burri                                  lburri@morrowfischer.com
   Brett R. Cahoon                                 ustp.region18.bs.ecf@usdoj.gov
   William K. Carter                               kentcarter@grsm.com
   D. Blair Clark                                  dbc@dbclarklaw.com
   David A. Coleman                                david@colemanjacobsonlaw.com
   Connor B. Edlund                                edlund@mwsslawyers.com
   Gery W. Edson                                   gedson@gedson.com
   Jon B. Evans                                    evans.jb@dorsey.com
   Zachary Fairlie                                 zfairlie@spencerfane.com
   Brian Faria                                     brian@sawtoothlaw.com
   Kimbell D. Gourley                              kgourley@idalaw.com
   Daniel C. Green                                 dan@racineolson.com
   Matthew W. Grimshaw                             matt@grimshawlawgroup.com
   John F. Kurtz                                   jfk@kurtzlawllc.com
   Adam A. Lewis                                   alewis@mofo.com
   Karyn Lloyd                                     klloyd@grsm.com
   Jed W. Manwaring                                jmanwaring@evanskeane.com
   J. Justin May                                   jjm@johnsonmaylaw.com
   Krystal R. Mikkilineni                          krystal.mikkilineni@dentons.com
   Rhett M. Miller                                 rmiller@magicvalley.law
   John D. Munding                                 john@mundinglaw.com
   Jason R. Naess                                  jason.r.naess@usdoj.gov
   James Niemeier                                  jniemeier@mcgrathnorth.com
   John O’Brien                                    jobrien@spencerfane.com
   Scott C. Powers                                 spowers@spencerfane.com
   Cheryl Rambo                                    cheryl.rambo@isp.idaho.gov
   Janine P. Reynard                               janine@averylaw.net
   Robert E. Richards                              robert.richards@dentons.com
   Holly Roark                                     holly@roarklawboise.com
   Evan T. Roth                                    evan@sawtoothlaw.com
   Tirzah R. Roussell                              tirzah.roussell@dentons.com
   Miranda K. Russell                              mrussell@mofo.com
   Andrew J. Schoulder                             andrew.schoulder@nortonrosefulbright.com
   Sheila R. Schwager                              sschwager@hawleytroxell.com
   Louis V. Spiker                                 louis.spiker@millernash.com


 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
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   Matthew A. Sturzen                            matt@shermlaw.com
   Meredith L. Thielbahr                         mthielbahr@grsm.com
   Kim J. Trout                                  ktrout@trout-law.com
   Brent R. Wilson                               bwilson@hawleytroxell.com




  Dated this 29th day of August 2024.           /s/ Julian Gurule
                                                O’MELVENY & MYERS LLP
                                                Julian Gurule




 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
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                                           Exhibit A

                                         Summary Sheet

  Fees Previously Requested: $0.00              NAME OF FIRM: O’Melveny & Myers LLP

  Fees Previously Awarded: $0.00                ROLE IN CASE: Attorneys for the Official
                                                Committee of Unsecured Creditors

  Expenses Previously Requested: $0.00          CURRENT APPLICATION:

  Expenses Previously Awarded: $0.00                   Fees Requested: $369,060.22
                                                       Expenses Requested: $2,310.65
                                                       Total Requested: $371,370.87
                                                       Fees Outstanding to be Paid:
                                                       $155,648.24
                                                       Blended Rate: $1,021


                                  First Interim Fee Period
  Name of Professional      Years in Practice Hourly Rate      Hours Billed    Total Billed
  Gabriel L. Olivera                11             1,265.00          124.60      157,619.00
  Julian Gurule                     17             1,385.00           61.90       85,731.50
  Julian Gurule - 1/2 Time          --               692.00            4.40        3,047.00
  Matthew P. Kremer                 11             1,405.00           61.20       85,986.00
  Nicole Molner                      3             1,070.00           54.00      120,780.00
  Declan P. Kelly                    3             1,070.00           17.60       18,832.00
  Daniel W. Leal                     1               860.00            4.80        4,128.00
  Ryan Cicero                       14             1,585.00            3.50        5,547.50
  Tim Evans                         25             1,425.00            2.50        3,562.50
  Lake Grey                     Paralegal            510.00           15.80        8,058.00
  Austin Damiani            Summer Associate         370.00            6.00        2,220.00
  Gavin Reece Barrett       Summer Associate         370.00            3.60        1,332.00
  Alexander Roti            Practice Assistant       230.00            1.50          345.00
  Subtotal                                                           361.40     $497,188.50
  Voluntary Discount (15%)                                                --     $65,128.28
  Total                                                              361.40     $369,060.22




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                                       Exhibit B

                                       Invoices




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 O’Melveny & Myers LLP                T: +1 213 430 6000
 400 South Hope Street                F: +1 213 430 6407
 18th Floor                           omm.com
 Los Angeles, CA 90071-2899




                                                                                    July 30, 2024



  MILLENKAMP CATTLE CHAPTER 11

  For Professional Services Rendered Through May 31, 2024

  Total Fees                                                                                                          $126,231.50

  Less 15% Discount                                                                                                     (18,934.73)

  Total Fees After Adjustment                                                                                         $107,296.77

  Total Current Invoice                                                                                               $107,296.77




   Austin • Century City • Dallas • Houston • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                             Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
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  Matter Name: MILLENKAMP CATTLE CHAPTER 11                                            Invoice: 1181752
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 MILLENKAMP CATTLE CHAPTER 11

 For Professional Services Rendered Through May 31, 2024

  Date       Name                    Description                               Hours           Amount

  B110 CASE ADMINISTRATION

  05/21/24   N MOLNER                DRAFT CRITICAL DATES CALENDAR FOR           0.8             856.00
                                     CLIENT

  05/21/24   G OLIVERA               RESEARCH AND OUTREACH TO POTENTIAL          0.6             759.00
                                     LOCAL COUNSEL OPTIONS

  05/21/24   G OLIVERA               MEETING WITH S. MILDE REGARDING INITIAL     0.4             506.00
                                     ACTION ITEMS

  05/22/24   G OLIVERA               INTERVIEW CANDIDATE FOR IDAHO LOCAL         0.5             632.50
                                     COUNSEL

  05/22/24   J GURULE                PREP FOR FA INTERVIEWS AND RELATED          0.3             415.50
                                     CORRESPONDENCE

  05/22/24   G OLIVERA               REVIEW CASE DOCKET FOR PENDING              0.5             632.50
                                     MATTERS AND DRAFT CASE CALENDAR

  05/22/24   G OLIVERA               DRAFT BYLAWS FOR THE UNSECURED              1.1           1,391.50
                                     CREDITORS’ COMMITTEE

  05/22/24   J GURULE                REVIEW CASE STATUS, CALENDAR, OPEN          0.5             692.50
                                     ISSUES AND WORK STREAMS

  05/23/24   G OLIVERA               ATTEND FINANCIAL ADVISOR PITCHES FOR        1.5           1,897.50
                                     THE UNSECURED CREDITORS’ COMMITTEE

  05/23/24   M KREMER                MILLENKAMP UCC FA INTERVIEWS                1.0           1,405.00

  05/23/24   M KREMER                REVIEW AND REVISE UCC BY-LAWS               0.6             843.00

  05/23/24   J GURULE                FA INTERVIEWS                               1.5           2,077.50

  05/23/24   G OLIVERA               DRAFT ENGAGEMENT LETTER FOR THE             1.2           1,518.00
                                     UNSECURED CREDITORS’ COMMITTEE

  05/23/24   G OLIVERA               EMAILS WITH LOCAL COUNSEL REGARDING         0.3             379.50
                                     INITIAL ACTION ITEMS

  05/23/24   G OLIVERA               EDIT PRO HAC VICE FORMS                     0.3             379.50

  05/24/24   N MOLNER                DRAFT UCC CONTACT LIST AND                  2.7           2,889.00
                                     ADMINISTRATIVE DOCUMENTS

  05/24/24   G OLIVERA               COORDINATE FILING OF PRO HAC VICE           0.4             506.00
                                     MOTIONS

  05/25/24   J GURULE                REVIEW MATTER STATUS AND STRATEGY           0.4             554.00

  05/27/24   G OLIVERA               EDIT DRAFT COMMITTEE BYLAWS                 0.8           1,012.00

  05/27/24   G OLIVERA               EDIT COMMITTEE CONTACT LIST                 0.6             759.00

  05/28/24   G OLIVERA               FINALIZE UNSECURED CREDITORS’               0.7             885.50
                                     COMMITTEE’S BYLAWS

  05/30/24   N MOLNER                DRAFT NOTICES OF APPEARANCE                 0.3             321.00
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  Matter Name: MILLENKAMP CATTLE CHAPTER 11                                             Invoice: 1181752
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  Date       Name                       Description                             Hours           Amount

  05/31/24   G OLIVERA                  EDIT NOTICE OF APPEARANCE FOR J.          0.8           1,012.00
                                        GURULE, M. KREMER, AND G. OLIVERA TO
                                        INCLUDE PRESERVATION OF ALL OF THE
                                        CLIENTS’ LEGAL RIGHTS

  05/31/24   J GURULE                   TELEPHONE CONFERENCE OLIVERA              0.1             138.50
                                        REGARDING OPEN ITEMS

  05/31/24   G OLIVERA                  COORDINATE FILING OF NOTICES OF           0.2             253.00
                                        APPEARANCE

  Total      B110 CASE ADMINISTRATION                                            18.1          22,715.50

  B120 ASSET ANALYSIS & RECOVERY

  05/22/24   G OLIVERA                  DRAFT INITIAL REQUESTS FOR DOCUMENTS      1.3           1,644.50
                                        AND INFORMATION FROM THE SECURED
                                        LENDERS

  05/22/24   G OLIVERA                  DRAFT INITIAL REQUESTS FOR DOCUMENTS      0.9           1,138.50
                                        AND INFORMATION FROM THE DEBTORS

  05/24/24   J GURULE                   EMAILS WITH OLIVERA REGARDING INFO        0.1             138.50
                                        REQUESTS

  05/24/24   G OLIVERA                  EDIT REQUESTS FOR INFORMATION TO          0.6             759.00
                                        DEBTORS

  05/27/24   G OLIVERA                  EDIT REQUESTS FOR PRODUCTION OF           0.8           1,012.00
                                        DOCUMENT AND INFORMATION FROM THE
                                        SECURED LENDERS

  05/27/24   M KREMER                   REVIEW ARMORY COMMENTS TO INFO.           0.2             281.00
                                        REQUESTS AND EMAIL WITH G. OLIVERA

  05/27/24   J GURULE                   REVIEW DILIGENCE LIST                     0.2             277.00

  05/27/24   G OLIVERA                  EDIT REQUESTS FOR PRODUCTION OF           0.7             885.50
                                        DOCUMENT AND INFORMATION FROM THE
                                        DEBTORS

  05/28/24   J GURULE                   REVIEW INITIAL REQUEST LIST               0.2             277.00

  Total      B120 ASSET ANALYSIS & RECOVERY                                       5.0           6,413.00

  B150 MEETINGS OF & COMMUNICATION W/ CREDITORS

  05/21/24   J GURULE                   EDIT UCC MEETING AGENDA AND CIRCULATE     0.3             415.50
                                        SAME

  05/21/24   G OLIVERA                  DRAFT AGENDA FOR COMMITTEE MEETING        0.2             253.00

  05/21/24   J GURULE                   TELEPHONE CONFERENCE WITH M. KREMER       0.3             415.50
                                        REGARDING BACKGROUND

  05/21/24   J GURULE                   TELEPHONE CONFERENCE D. NOBLE             0.4             554.00
                                        REGARDING UPDATES AND NEXT STEPS

  05/21/24   J GURULE                   TELEPHONE CONFERENCE CALL WITH D.         0.1             138.50
                                        NOBLE REGARDING UPDATES

  05/22/24   G OLIVERA                  CONFERENCE CALL WITH DEBTORS’             0.8           1,012.00
                                        COUNSEL REGARDING CASE STRATEGY

  05/22/24   J GURULE                   EMAILS OUT TO COUNSEL FOR PRINCIPAL       0.2             277.00
                                        PARTIES

  05/22/24   G OLIVERA                  COMMUNICATIONS WITH UST                   0.2             253.00
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  Client: MILLENKAMP CATTLE UNSECURED CREDITORS’ COMMITTEE                                     07/30/24
  Matter Name: MILLENKAMP CATTLE CHAPTER 11                                           Invoice: 1181752
                                                                                           Page No. 4


  Date       Name                    Description                              Hours           Amount

  05/22/24   J GURULE                EMAILS WITH RABO'S COUNSEL                 0.1             138.50

  05/22/24   M KREMER                REVIEW BACKGROUND MATERIALS (.5);          1.9           2,669.50
                                     ATTEND INTRO CALL WITH COMMITTEE (.8);
                                     ATTEND INTRO CALL WITH DEBTORS
                                     COUNSEL (.6)

  05/22/24   J GURULE                CALL WITH DEBTORS COUNSEL RE: CASE         0.7             969.50
                                     STRATEGY

  05/22/24   J GURULE                TELEPHONE CONFERENCE WITH UCC              1.0           1,385.00

  05/22/24   J GURULE                TELEPHONE CONFERENCE WITH G. OLIVERA       0.1             138.50
                                     REGARDING UPDATES

  05/22/24   J GURULE                EMAILS WITH B. CAHOON AT UST               0.1             138.50

  05/22/24   J GURULE                EMAILS WITH UCC REGARDING UPDATES          0.2             277.00

  05/23/24   J GURULE                TELEPHONE CONFERENCE PERISON               0.3             415.50
                                     REGARDING STRATEGY

  05/23/24   J GURULE                EMAILS WITH UCC MEMBERS REGARDING          0.2             277.00
                                     FAS

  05/23/24   J GURULE                UCC MEETING                                0.6             831.00

  05/23/24   J GURULE                TELEPHONE CONFERENCE WITH MCDONALD         0.2             277.00
                                     REGARDING NEXT STEPS

  05/23/24   J GURULE                EMAILS WITH UCC REGARDING IDAHO            0.2             277.00
                                     COUNSEL

  05/24/24   G OLIVERA               CONFERENCE CALL WITH RABO COUNSEL          0.5             632.50

  05/24/24   J GURULE                KICK OFF CALL WITH ARMORY TEAM             0.4             554.00

  05/24/24   J GURULE                INTRO CALL WITH UST                        0.3             415.50

  05/24/24   J GURULE                INTRO CALL WITH RABO ADVISORS              0.5             692.50

  05/24/24   J GURULE                TELEPHONE CONFERENCE OLIVERA               0.1             138.50
                                     REGARDING OPEN ITEMS

  05/24/24   G OLIVERA               CONFERENCE CALL WITH UST AND OMM           0.3             379.50
                                     TEAM

  05/25/24   J GURULE                EMAILS WITH DEBTORS COUNSEL                0.2             277.00
                                     REGARDING UPDATES

  05/26/24   J GURULE                TELEPHONE CONFERENCE D. MCDONALD           0.2             277.00
                                     REGARDING STATUS

  05/27/24   G OLIVERA               DRAFT AGENDA FOR THE COMMITTEE CALL        0.4             506.00

  05/28/24   J GURULE                EMAILS WITH DEBTORS' COUNSEL RE:           0.1             138.50
                                     PENDING MATTERS

  05/28/24   G OLIVERA               EDIT AGENDA FOR UNSECURED CREDITORS’       0.3             379.50
                                     COMMITTEE’S STANDING CALL

  05/28/24   J GURULE                PARTICIPATE IN UCC MEETING                 0.7             969.50

  05/28/24   G OLIVERA               COMMUNICATION WITH COUNSEL FOR             0.1             126.50
                                     METLIFE

  05/28/24   N MOLNER                CONFERENCE WITH COMMITTEE REGARDING        0.9             963.00
                                     CASE STRATEGY
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  Date       Name                     Description                               Hours           Amount

  05/28/24   G OLIVERA                PARTICIPATE IN WEEKLY COMMITTEE CALL        0.7             885.50
                                      REGARDING PENDING MATTERS

  05/28/24   J GURULE                 EMAIL TO D. MCDONALD REGARDING              0.1             138.50
                                      AGENDA

  05/28/24   M KREMER                 UCC STANDING WEEKLY CALL                    0.7             983.50

  05/28/24   J GURULE                 PREP AND EMAIL AGENDA AND RELATED           0.4             554.00
                                      DOCS TO COMMITTEE

  05/28/24   J GURULE                 PREP FOR UCC MEETING                        0.2             277.00

  05/28/24   J GURULE                 EMAIL TO METLIFE COUNSEL                    0.1             138.50

  05/28/24   J GURULE                 TELEPHONE CONFERENCE G OLIVERA              0.2             277.00
                                      REGARDING WORK STREAMS

  05/29/24   J GURULE                 PREP FOR CALL WITH DEBTORS                  0.2             277.00

  05/29/24   J GURULE                 BACKGROUND CALLS REGARDING DAIRY            0.5             692.50
                                      ISSUES

  05/29/24   J GURULE                 INTERNAL OMM EMAILS REGARDING 341A          0.1             138.50

  05/29/24   J GURULE                 EMAILS WITH PARTIES REGARDING               0.2             277.00
                                      BACKGROUND

  05/29/24   J GURULE                 EMAIL TO UCC ADVISOR GROUP                  0.1             138.50

  05/29/24   J GURULE                 TELEPHONE CONFERENCE WITH DEBTORS           1.1           1,523.50

  05/29/24   J GURULE                 EMAIL WITH UCC REGARDING RETENTION OF       0.1             138.50
                                      FA

  05/29/24   J GURULE                 TELEPHONE CONFERENCE D NOBLE                0.1             138.50
                                      REGARDING ARMORY RETENTION

  05/29/24   J GURULE                 TELEPHONE CONFERENCE KREMER                 0.2             277.00
                                      REGARDING STRATEGY

  05/30/24   J GURULE                 EMAILS WITH UCC REGARDING DIGESTER          0.1             138.50
                                      QUESTION

  05/30/24   J GURULE                 EMAILS WITH METLIFE COUNSEL                 0.1             138.50

  05/30/24   N MOLNER                 ATTEND 341 MEETING OF CREDITORS             0.5             535.00

  05/30/24   N MOLNER                 DRAFT CLIENT SUMMARY OF 341 MEETING         0.5             535.00

  05/30/24   G OLIVERA                PREPARE FOR AND PARTICIPATE IN SECTION      0.6             759.00
                                      341 MEETING OF THE CREDITORS

  05/30/24   G OLIVERA                EDIT SUMMARY OF 341 MEETING FOR             0.2             253.00
                                      COMMITTEE MEMBERS

  05/30/24   J GURULE                 REVIEW 341(A) REPORT                        0.1             138.50

  05/30/24   M KREMER                 ATTEND 341 MEETING                          0.5             702.50

  Total      B150 MEETINGS OF & COMMUNICATION W/ CREDITORS                       20.7          27,617.00

  B160 FEE/EMPLOYMENT APPLICATIONS

  05/22/24   N MOLNER                 RESEARCH APPROVED RETENTION AND FEE         1.2           1,284.00
                                      APPLICATIONS FILED BY SIMILAR LAW FIRMS
                                      IN OTHER COURTS IN THE REGION FOR UCC
                                      RETENTION APPLICATION
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  Date       Name                    Description                              Hours           Amount

  05/22/24   N MOLNER                DRAFT OMM RETENTION APPLICATION            2.1           2,247.00

  05/23/24   N MOLNER                DRAFT CITATION FOR RETENTION               0.5             535.00
                                     APPLICATION REGARDING FEES CHARGED
                                     BY OTHER FIRMS AND APPROVED BY OTHER
                                     COURTS

  05/23/24   N MOLNER                DRAFT OMM RETENTION APPLICATION            1.2           1,284.00

  05/23/24   N MOLNER                REVIEW METLIFE CONFLICTS REPORT            0.2             214.00

  05/23/24   G OLIVERA               PREPARE INFORMATION NEEDED FOR             0.8           1,012.00
                                     CONFLICT CHECK

  05/23/24   G OLIVERA               EDIT RETENTION APPLICATION AND             2.3           2,909.50
                                     DECLARATIONS IN SUPPORT OF RETENTION
                                     APPLICATION

  05/24/24   J GURULE                EMAILS WITH OMM TEAM REGARDING             0.2             277.00
                                     RETENTION

  05/24/24   G OLIVERA               REVIEW AND ANALYZE RESULTS OF              0.7             885.50
                                     CONFLICT CHECK

  05/24/24   G OLIVERA               COORDINATE FILING OF O’MELVENY’S           0.4             506.00
                                     RETENTION APPLICATION

  05/24/24   N MOLNER                DRAFT PRO HAC VICE APPLICATIONS FOR J.     0.6             642.00
                                     GURULE, M. KREMER, AND G. OLIVERA

  05/24/24   N MOLNER                REVISE UCC RETENTION APPLICATION PER       1.6           1,712.00
                                     COMMENTS FROM M. KREMER

  05/24/24   G OLIVERA               ANALYZE RESULTS OF CONFLICT CHECK          0.8           1,012.00

  05/24/24   J GURULE                REVIEW RETENTION APP                       0.2             277.00

  05/24/24   J GURULE                EMAILS INTERNALLY AT OMM REGARDING         0.3             415.50
                                     MILLENKAMP CONFLICT CLEARANCE

  05/24/24   G OLIVERA               EMAILS WITH CREDITORS’ COMMITTEE           0.8           1,012.00
                                     REGARDING RETENTION APPLICATION AND
                                     LOCAL COUNSEL RETENTION APPLICATION

  05/24/24   G OLIVERA               EDIT O’MELVENY’S RETENTION APPLICATION     2.7           3,415.50
                                     AND COMMITTEE’S DECLARATION IN
                                     SUPPORT OF O’MELVENY’S RETENTION

  05/26/24   J GURULE                TELEPHONE CONFERENCE ARMORY                0.1             138.50
                                     REGARDING EMPLOYMENT APPLICATION

  05/28/24   N MOLNER                DRAFT ARMORY RETENTION APPLICATION         2.3           2,461.00

  05/28/24   G OLIVERA               REVIEW AND ANALYZE PROPOSED ARMORY         0.5             632.50
                                     ENGAGEMENT LETTER

  05/28/24   J GURULE                TELEPHONE CONFERENCE WITH D.               0.2             277.00
                                     MCDONALD REGARDING RETENTION

  05/28/24   M KREMER                REVIEW ARMORY RETENTION APP                0.2             281.00

  05/28/24   M KREMER                REVIEW AND REVISE GURULE DECLARATION       0.4             562.00
                                     (.2); EMAILS WITH G. OLIVERA REGARDING
                                     THE SAME (.2)

  05/28/24   G OLIVERA               DRAFT AND EDIT GURULE DECLARATION IN       2.1           2,656.50
                                     SUPPORT OF APPLICATION TO EMPLOY
                                     O’MELVENY AS COMMITTEE COUNSEL
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  Date       Name                    Description                             Hours           Amount

  05/28/24   J GURULE                REVIEW RETENTION DECLARATION AND          0.7             969.50
                                     CONFLICT REPORTS

  05/28/24   G OLIVERA               EDIT APPLICATION TO RETAIN ARMORY AS      1.4           1,771.00
                                     THE UNSECURED CREDITORS’ COMMITTEE’S
                                     FINANCIAL ADVISOR

  05/29/24   G OLIVERA               EDIT ARMORY RETENTION APPLICATION         1.1           1,391.50

  05/29/24   J GURULE                REVIEW AND EMAILS WITH UCC REGARDING      0.3             415.50
                                     ARMORY RETENTION APP

  05/29/24   N MOLNER                REVISE ARMORY RETENTION APPLICATION       0.2             214.00

  05/29/24   G OLIVERA               COORDINATE FILING OF ARMORY RETENTION     0.1             126.50
                                     APPLICATION

  05/29/24   G OLIVERA               EDIT GURULE DECLARATION IN SUPPORT OF     1.2           1,518.00
                                     OMM RETENTION

  05/29/24   G OLIVERA               COORDINATE FILING OF GURULE               0.2             253.00
                                     DECLARATION IN SUPPORT OF OMM
                                     RETENTION

  05/30/24   G OLIVERA               REVIEW DEBTORS’ APPLICATION TO EMPLOY     0.4             506.00
                                     SUMMIT AG APPRAISAL, INC. AS REAL
                                     ESTATE APPRAISER

  05/31/24   J GURULE                ANALYSIS OF DEBTOR RETENTION ORDERS       0.1             138.50

  Total      B160 FEE/EMPLOYMENT APPLICATIONS                                 28.1          33,952.00

  B190 OTHER CONTESTED MATTERS

  05/21/24   G OLIVERA               CONFERENCE CALL WITH J. GURULE            0.4             506.00
                                     REGARDING COMMITTEE INITIAL ACTION
                                     ITEMS

  05/21/24   M KREMER                CALL WITH J. GURULE REGARDING             0.5             702.50
                                     MILLENKAMP (0.3); REVIEW DOCKET
                                     UPDATES (0.2)

  05/24/24   G OLIVERA               CONFERENCE CALL WITH ARMORY               0.4             506.00
                                     REGARDING INITIAL ACTION ITEMS

  05/31/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ UPDATED       1.2           1,518.00
                                     AMENDED SCHEDULES

  Total      B190 OTHER CONTESTED MATTERS                                      2.5           3,232.50

  B230 FINANCING/CASH COLLATERAL

  05/22/24   J GURULE                REVIEW DEBTORS' BORROWING BASE            0.3             415.50
                                     REPORT

  05/27/24   G OLIVERA               REVIEW AND ANALYZE THE DEBTORS’           0.6             759.00
                                     WEEKLY FINANCIAL REPORTING FOR WEEK
                                     OF MAY 19, 2024

  05/29/24   J GURULE                REVIEW BUDGET VARIANCE MATERIALS          0.3             415.50

  05/30/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ WEEKLY        0.7             885.50
                                     VARIANCE ANALYSIS

  Total      B230 FINANCING/CASH COLLATERAL                                    1.9           2,475.50

  B300 CLAIMS & PLAN
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  Date       Name                    Description                                 Hours           Amount

  05/23/24   G OLIVERA               REVIEW AND ANALYZE ORDER REGARDING            0.2             253.00
                                     503(B)(9) CLAIMS

  05/28/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ AMENDED           0.8           1,012.00
                                     503(B)(9) MOTION

  05/28/24   N MOLNER                RESEARCH REPLY DEADLINES UNDER                0.6             642.00
                                     DISTRICT OF IDAHO LOCAL RULES

  05/28/24   G OLIVERA               DRAFT SUMMARY AND RECOMMENDATION              0.6             759.00
                                     FOR THE UNSECURED CREDITORS’
                                     COMMITTEE REGARDING DEBTORS’
                                     AMENDED 503(B)(9) MOTION

  05/30/24   N MOLNER                DRAFT SUMMARY OF U.S. TRUSTEE                 0.3             321.00
                                     OBJECTION TO SECTION 503(B)(9) MOTION

  05/30/24   N MOLNER                DRAFT CLIENT SUMMARY OF U.S. TRUSTEE          0.3             321.00
                                     OBJECTION TO 503(B)(9) MOTION

  05/30/24   J GURULE                REVIEW 503B9 OBJECTION AND RELATED            0.4             554.00
                                     EMAIL TO UCC REGARDING SUMMARY

  05/31/24   G OLIVERA               RESEARCH CASE LAW ON THE DOCTRINE OF          1.3           1,644.50
                                     NECESSITY IN CONNECTION WITH THE
                                     COMMITTEE’S REPLY IN SUPPORT OF THE
                                     DEBTORS’ AMENDED 503(B)(9) MOTION

  05/31/24   G OLIVERA               COMMUNICATIONS WITH DEBTORS’ COUNSEL          0.2             253.00
                                     REGARDING DEBTORS’ AMENDED 503(B)(9)
                                     MOTION

  05/31/24   G OLIVERA               REVIEW AND ANALYZE THE US TRUSTEE’S           0.9           1,138.50
                                     OBJECTION TO THE DEBTORS’ AMENDED
                                     503(B)(9) MOTION

  05/31/24   N MOLNER                RESEARCH CASE LAW REGARDING PAYMENT           2.1           2,247.00
                                     OF 503(B)(9) CLAIMS FOR REPLY IN SUPPORT
                                     OF 503(B)(9) MOTION

  05/31/24   N MOLNER                REVIEW AMENDED 503(B)(9) MOTION AND U.S.      0.4             428.00
                                     TRUSTEE OBJECTION FOR REPLY IN
                                     SUPPORT OF 503(B)(9) MOTION

  05/31/24   N MOLNER                CALL WITH G. OLIVERA REGARDING REPLY IN       0.5             535.00
                                     SUPPORT OF 503(B)(9) MOTION

  05/31/24   N MOLNER                ANALYZE DEBTORS SCHEDULES, CASH               1.2           1,284.00
                                     COLLATERAL BUDGET, AND FIRST DAY
                                     DECLARATION FOR REPLY IN SUPPORT OF
                                     503(B)(9) MOTION

  05/31/24   G OLIVERA               EDIT SUMMARY FOR THE UNSECURED                0.7             885.50
                                     CREDITORS’ COMMITTEE REGARDING US
                                     TRUSTEE’S OBJECTION TO THE DEBTORS’
                                     AMENDED 503(B)(9) MOTION

  05/31/24   G OLIVERA               RESEARCH CASE LAW REGARDING TIMING            1.8           2,277.00
                                     OF PAYMENT OF 503(B)(9) CLAIMS

  05/31/24   M KREMER                REVIEW 503(B)(9) OBJECTION (.3); RESEARCH     1.0           1,405.00
                                     SAME (.5); EMAIL TO GROUP REGARDING THE
                                     SAME (.1); REVIEW AND REVISE NOA (.1)

  05/31/24   J GURULE                ANALYSIS OF 503(B)(9) OBJECTION               0.5             692.50
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  Date       Name                        Description                                   Hours           Amount

  05/31/24   G OLIVERA                   COMMUNICATIONS WITH LOCAL COUNSEL               0.6             759.00
                                         REGARDING DEBTORS’ AMENDED 503(B)(9)
                                         MOTION

  05/31/24   J GURULE                    INTERNAL OMM EMAILS REGARDING 503(B)(9)         0.4             554.00
                                         REPLY

  05/31/24   N MOLNER                    DRAFT REPLY IN SUPPORT OF 503(B)(9)             0.9             963.00
                                         MOTION

  Total      B300 CLAIMS & PLAN                                                         15.7          18,928.00

  B400 BANKRUPTCY-RELATED ADVICE

  05/21/24   J GURULE                    ATTENTION TO STRATEGY AND NEXT STEPS            1.2           1,662.00

  05/24/24   G OLIVERA                   EMAIL DEBTORS’ COUNSEL REGARDING                0.2             253.00
                                         WEEKLY STANDING CALL

  05/24/24   M KREMER                    UCC/DIP COUNSEL CALL (.5); UCC/UST CALL         2.6           3,653.00
                                         (.4); UCC/ARMORY KICK-OFF CALL (.4); EMAILS
                                         REGARDING ENGAGEMENT LETTER (.3);
                                         REVIEW AND REVISE BY-LAWS (.4): REVIEW
                                         AND REVISE INFO REQUESTS (.3); REVIEW
                                         REVISED OMM RETENTION APP (.3)

  05/28/24   G OLIVERA                   EMAIL DEBTORS’ COUNSEL REGARDING                0.2             253.00
                                         STANDING CALL AND INITIAL REQUESTS FOR
                                         PRODUCTION OF DOCUMENTS AND
                                         INFORMATION

  05/29/24   G OLIVERA                   CONFERENCE CALL WITH DEBTOR                     1.1           1,391.50
                                         PROFESSIONALS, AND OMM AND ARMORY
                                         TEAMS REGARDING CASE STRATEGY

  05/29/24   G OLIVERA                   PREPARE FOR CONFERENCE CALL WITH                0.6             759.00
                                         DEBTORS’ PROFESSIONALS REGARDING
                                         CASE STRATEGY

  05/29/24   M KREMER                    DEBTORS/UCC PROFESSIONALS CALL                  0.6             843.00

  05/29/24   M KREMER                    CHECK-IN CALL WITH J. GURULE REGARDING          0.3             421.50
                                         MILLENKAMP AND WORK-STREAMS

  05/30/24   J GURULE                    ANALYSIS OF CASE STRATEGY AND                   0.8           1,108.00
                                         SUMMARIZE VIA EMAIL FOR KREMER,
                                         OLIVERA, MOLNER

  05/31/24   J GURULE                    ANALYSIS OF SCHEDULES/AMENDED                   0.4             554.00
                                         SCHEDULES

  Total      B400 BANKRUPTCY-RELATED ADVICE                                              8.0          10,898.00

  Total                                                                                100.0       $126,231.50


  Less 15% Discount                                                                                 (18,934.73)

  Total Fees After Adjustment                                                                        107,296.77


  Total Current Invoice                                                                          $107,296.77
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 Timekeeper Summary
  Timekeeper                        Title                        Rate   Hours           Amount
  MATTHEW P. KREMER                 Partner                  1,405.00    10.5          14,752.50
  JULIAN GURULE                     Partner                  1,385.00    21.1          29,223.50
  Total for Partner                                                      31.6          43,976.00

  GABRIEL L. OLIVERA                Counsel                  1,265.00    46.5          58,822.50
  Total for Counsel                                                      46.5          58,822.50

  NICOLE MOLNER                     Associate                1,070.00    21.9          23,433.00
  Total for Associate                                                    21.9          23,433.00


  Total                                                                 100.0         126,231.50
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 O’Melveny & Myers LLP                T: +1 213 430 6000
 400 South Hope Street                F: +1 213 430 6407
 18th Floor                           omm.com
 Los Angeles, CA 90071-2899




                                                                                    July 30, 2024



  MILLENKAMP CATTLE CHAPTER 11

  For Professional Services Rendered Through June 30, 2024

  Total Fees                                                                                                          $210,139.00

  Less 15% Discount                                                                                                     (31,520.85)

  Total Fees After Adjustment                                                                                         $178,618.15

  Total Disbursements                                                                                                    $1,286.44

  Total Current Invoice                                                                                               $179,904.59




   Austin • Century City • Dallas • Houston • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                             Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
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 MILLENKAMP CATTLE CHAPTER 11

 For Professional Services Rendered Through June 30, 2024

  Date       Name                       Description                              Hours           Amount

  B100 ADMINISTRATION

  06/18/24   A DAMIANI                  REVIEW FIRST DAY DECLARATION               0.5             185.00

  06/18/24   A DAMIANI                  MEET WITH G. OLIVERA AND N. MOLNER TO      0.4             148.00
                                        PLAN INDEX OF DOCUMENTS

  06/18/24   A DAMIANI                  MANAGE DATA ROOM                           1.0             370.00

  06/20/24   A DAMIANI                  MANAGE DATA ROOM                           4.1           1,517.00

  Total      B100 ADMINISTRATION                                                   6.0           2,220.00

  B110 CASE ADMINISTRATION

  06/03/24   G OLIVERA                  EDIT CASE CALENDAR AND SUPPLEMENT ALL      1.1           1,391.50
                                        WORK STREAMS AND CASE STRATEGY FOR
                                        OMM TEAM

  06/03/24   J GURULE                   TELEPHONE CONFERENCE WITH KREMER,          0.4             554.00
                                        OLIVERA, MOLNER REGARDING WORK
                                        STREAMS AND HEARINGS

  06/03/24   J GURULE                   ATTN TO WORK STREAMS AND CASE              0.5             692.50
                                        STRATEGY

  06/10/24   J GURULE                   ANALYSIS OF TIMING DISPUTE FOR HEARING     0.1             138.50

  06/11/24   N MOLNER                   DRAFT RULE 2019 DISCLOSURE                 0.9             963.00

  06/11/24   M KREMER                   REVIEW 2015.3 REPORT                       0.2             281.00

  06/12/24   A ROTI                     CREATE PLEADINGS BINDER AND INDEX          1.5             345.00
                                        WITH DOCKET MATERIALS FOR ATTORNEY
                                        REVIEW

  06/13/24   J GURULE                   TELEPHONE CONFERENCE WITH KREMER           0.1             138.50
                                        REGARDING CASE STRATEGY

  06/14/24   G OLIVERA                  CONFERENCE CALL WITH J. GURULE             0.2             253.00
                                        REGARDING PENDING MATTERS

  06/14/24   G OLIVERA                  REVIEW VITERRA EXHIBIT LIST                0.1             126.50

  06/24/24   J GURULE                   ANALYSIS OF STRATEGY AND NEXT STEPS        0.3             415.50

  06/26/24   N MOLNER                   DRAFT NOTICE OF CHANGE OF ADDRESS          0.2             214.00
                                        FOR J. GURULE

  Total      B110 CASE ADMINISTRATION                                              5.6           5,513.00

  B120 ASSET ANALYSIS & RECOVERY

  06/04/24   R CICERO                   T/C'S WITH KREMER AND KELLY RE: MATTER     1.5           2,377.50
                                        (.2); BEGIN REVIEWING DOCUMENTS FOR
                                        PERFECTION CHECK (1.3)

  06/04/24   J GURULE                   ANALYSIS OF DEBTORS DOC REQUEST            0.1             138.50
                                        RESPONSE

  06/05/24   N MOLNER                   DRAFT SCHEDULE OF UCC-1 SEARCH             0.3             321.00
                                        TARGETS
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  Date       Name                    Description                               Hours           Amount

  06/06/24   J GURULE                INTERNAL OMM EMAILS REGARDING LIEN          0.1             138.50
                                     SEARCH

  06/06/24   N MOLNER                COMMUNICATIONS WITH OMM TEAM                0.2             214.00
                                     REGARDING UCC SEARCH

  06/06/24   D KELLY                 REVIEW UCC PRESENTATION MATERIALS,          2.6           2,782.00
                                     LIEN REVIEW MEMORANDUM PRECEDENTS,
                                     REVIEW DEBTOR RESPONSES TO INITIAL
                                     COMMITTEE REQUESTS

  06/06/24   M KREMER                EMAILS WITH OMM TEAM REGARDING UCC-1        0.1             140.50
                                     SEARCHES

  06/07/24   M KREMER                EMAIL WITH R. CICERO REGARDING LIEN         0.6             843.00
                                     INVESTIGATION (.2); ATTEND TO THE SAME
                                     (.4)

  06/10/24   J GURULE                TELEPHONE CONFERENCE WITH T EVANS           0.4             554.00
                                     REGARDING LIEN REVIEW

  06/10/24   M KREMER                EMAIL WITH TEAM REGARDING LIEN              0.5             702.50
                                     INVESTIGATION AND ATTEND TO THE SAME

  06/10/24   R CICERO                REVIEW OF DEBT DOCUMENTS AND                1.0           1,585.00
                                     ATTENTION TO MATTER.

  06/10/24   T EVANS                 REVIEW OF CASE BACKGROUND; CALL WITH        0.7             997.50
                                     J. GURULE REGARDING REAL ESTATE
                                     ASPECTS

  06/10/24   D KELLY                 REVIEW LIEN MEMO PRECEDENTS (1.0),          4.1           4,387.00
                                     REVIEW DEBT DOCUMENTS (2.5), EMAILS
                                     REGARDING SAME (.6)

  06/11/24   D KELLY                 CORRESPONDENCE/ATTN TO                      0.2             214.00
                                     CORRESPONDENCE, REVIEW DATA ROOM

  06/12/24   R CICERO                PERFECTION CHECK LIEN DOCUMENTS             1.0           1,585.00

  06/12/24   D KELLY                 REVIEW EXISTING DEBT DOCUMENTS (2.6),       2.8           2,996.00
                                     EMAILS REGARDING SAME (.2)

  06/13/24   M KREMER                CALL WITH OMM TEAM REGARDING LIEN           0.4             562.00
                                     REVIEW

  06/13/24   T EVANS                 CALL WITH OMM BANKRUPTCY TEAM               1.0           1,425.00
                                     REGARDING ASSET / MORTGAGE ANALYSIS
                                     FOR REAL ESTATE (.4); CORRESPONDENCE
                                     WITH D. LEAL AND BANKRUPTCY TEAM
                                     REGARDING SAME (.6)

  06/13/24   D KELLY                 PREPARE FOR CALL, ATTEND INTRO CALL,        1.5           1,605.00
                                     FOLLOW UPS REGARDING LIEN REVIEW,
                                     EMAILS REGARDING DOCS/UCC-1S

  06/14/24   L GREY                  BEGIN REVIEW AND PREPARING SUMMARY          2.5           1,275.00
                                     OF LIEN SEARCHES CONDUCTED WITH THE
                                     STATE OF IDAHO FOR MILLENKAMP ENTITIES;
                                     PROVIDE STATUS OF SAME TO N. MOLNER

  06/14/24   T EVANS                 CORRESPONDENCE WITH D. LEAL                 0.6             855.00
                                     REGARDING ASSET / MORTGAGE ANALYSIS
                                     FOR REAL ESTATE
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  Date       Name                     Description                                 Hours           Amount

  06/17/24   L GREY                   REVIEW AND ORGANIZE LIEN SEARCH               3.5           1,785.00
                                      RESULTS RECEIVED FROM THE STATE OF
                                      IDAHO FOR MILLENKAMP CATTLE, INC. ET AL.;
                                      ANALYZE AND SUMMARIZE SAME

  06/17/24   D KELLY                  REVIEW DEBT DOCUMENTS, REVIEW UCC-1S,         3.1           3,317.00
                                      CROSS REFERENCE CHECK
                                      GUARANTORS/UCC-1S, EMAILS RE:
                                      ADDITIONAL ITEMS

  06/18/24   L GREY                   CONTINUE REVIEW AND ORGANIZATION OF           2.6           1,326.00
                                      LIEN SEARCH RESULTS RECEIVED FROM THE
                                      STATE OF IDAHO FOR MILLENKAMP CATTLE,
                                      INC. ET AL.; ANALYZE AND SUMMARIZE SAME

  06/18/24   D KELLY                  LIEN REVIEW                                   1.5           1,605.00

  06/20/24   L GREY                   COMPLETE REVIEW AND SUMMARY OF LIEN           3.7           1,887.00
                                      SEARCH RESULTS RECEIVED FROM THE
                                      STATE OF IDAHO FOR MILLENKAMP CATTLE,
                                      INC. ET AL.; CORRESPOND WITH N. MOLNER
                                      WITH REGARD TO SAME; PREPARE LIST OF
                                      DISCREPANCIES OF SEARCH RESULTS AND
                                      CERTIFIED COPIES OF LIENS PROVIDED BY
                                      THE STATE AND CONFER WITH CORPORATE
                                      CORRESPONDENT WITH REGARD TO SAME

  06/21/24   G OLIVERA                COMMUNICATIONS WITH OMM TEAM RE: LIEN         0.3             379.50
                                      REVIEW ACTION ITEMS

  06/21/24   L GREY                   REVIEW UCC LIENS ISSUED BY THE STATE OF       1.3             663.00
                                      IDAHO WITH REGARD TO REQUEST FOR
                                      SAME IN CONNECTION WITH REVIEW AND
                                      SUMMARY OF LIENS CONDUCTED FOR
                                      MILLENKAMP CATTLE, INC. ET AL.;
                                      CORRESPOND WITH CORPORATE
                                      CORRESPONDENT REGARDING SAME

  06/21/24   T EVANS                  CORRESPONDENCE WITH D. LEAL AND               0.2             285.00
                                      BANKRUPTCY TEAM REGARDING LIEN
                                      ANALYSIS

  06/24/24   G OLIVERA                CONFER WITH OMM TEAM RE: LIEN REVIEW          0.4             506.00

  06/24/24   D KELLY                  LIEN REVIEW                                   1.8           1,926.00

  06/24/24   L GREY                   REVIEW AND UPDATE CORPORATE RECORDS           1.2             612.00
                                      AND SUMMARY OF LIENS WITH ADDITIONAL
                                      UCC SEARCH RESULTS RECEIVED FROM THE
                                      STATE OF IDAHO FOR MILLENKAMP CATTLE,
                                      INC. ET AL.; CORRESPOND WITH AND
                                      PROVIDE STATUS OF SAME TO N. MOLNER

  Total      B120 ASSET ANALYSIS & RECOVERY                                        41.8          39,989.50

  B150 MEETINGS OF & COMMUNICATION W/ CREDITORS

  06/03/24   J GURULE                 TELEPHONE CONFERENCE WITH METLIFE'S           0.4             554.00
                                      COUNSEL REGARDING INTROS

  06/03/24   G OLIVERA                INTRODUCTORY CONFERENCE CALL WITH             0.4             506.00
                                      OMM TEAM AND COUNSEL FOR METLIFE

  06/04/24   G OLIVERA                PARTICIPATE IN WEEKLY STANDING CALL           0.7             885.50
                                      WITH THE UNSECURED CREDITORS’
                                      COMMITTEE
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  06/04/24   J GURULE                TELEPHONE CONFERENCE WITH G ZEMAITIS     0.2             277.00
                                     REGARDING STRATEGY

  06/04/24   J GURULE                UCC AND DEBTOR WEEKLY CALL               0.4             554.00

  06/04/24   N MOLNER                PARTICIPATE IN CALL WITH DEBTORS'        0.5             535.00
                                     COUNSEL AND PROFESSIONALS, UCC
                                     PROFESSIONALS, AND OMM TEAM
                                     REGARDING PENDING MATTERS

  06/04/24   N MOLNER                PARTICIPATE IN WEEKLY COMMITTEE CALL     0.7             749.00
                                     REGARDING PENDING MATTERS

  06/04/24   N MOLNER                CALL WITH UCC REGARDING CASE UPDATES     0.7             749.00
                                     AND STRATEGY

  06/04/24   J GURULE                PREP FOR WEEKLY UCC CALL AND WORK        0.3             415.50
                                     STREAMS

  06/04/24   J GURULE                DRAFT AND EMAIL AGENDA TO UCC            0.3             415.50
                                     MEMBERS

  06/04/24   J GURULE                PREPARE FOR AND ATTEND UCC MEETING       0.8           1,108.00

  06/05/24   J GURULE                TELEPHONE CONFERENCE WITH D. NOBLE       0.1             138.50
                                     REGARDING STRATEGY

  06/06/24   J GURULE                DRAFT EMAIL SUMMARY OF UPDATES FOR       0.4             554.00
                                     UCC

  06/06/24   J GURULE                TELEPHONE CONFERENCE WITH D NOBLE        0.3             415.50
                                     REGARDING UCC ISSUES

  06/06/24   J GURULE                TELEPHONE CONFERENCE WITH T              0.5             692.50
                                     CHAMPION REGARDING STATUS, STRATEGY

  06/10/24   J GURULE                PREP UCC MEETING AGENDA AND              0.5             692.50
                                     CIRCULATE

  06/10/24   G OLIVERA               DRAFT AGENDA FOR STANDING CALL WITH      0.3             379.50
                                     UNSECURED CREDITORS’ COMMITTEE

  06/11/24   J GURULE                TELEPHONE CONFERENCE WITH D NOBLE        0.1             138.50
                                     REGARDING STATUS

  06/11/24   N MOLNER                ATTEND WEEKLY MEETING WITH COMMITTEE     0.7             749.00

  06/11/24   J GURULE                LEAD WEEKLY UCC CALL                     0.7             969.50

  06/11/24   J GURULE                PREP FOR WEEKLY UCC MEETING              0.3             415.50

  06/11/24   M KREMER                PREPARE FOR (.1) AND ATTEND UCC          0.8           1,124.00
                                     COMMITTEE WEEKLY CALL (.7)

  06/11/24   J GURULE                TELEPHONE CONFERENCE WITH MCDONALD       0.1             138.50
                                     REGARDING UCC MEETING

  06/11/24   J GURULE                TELEPHONE CONFERENCE WITH T. BERGER      0.2             277.00
                                     REGARDING STATUS

  06/11/24   M KREMER                UCC/DEBTOR COUNSEL WEEKLY CALL           0.5             702.50

  06/11/24   G OLIVERA               PREPARE FOR MEETING WITH DEBTORS’        0.3             379.50
                                     COUNSEL REGARDING PENDING MATTERS

  06/13/24   G OLIVERA               ATTEND 341 MEETING OF THE CREDITORS      0.3             379.50

  06/13/24   N MOLNER                ATTEND ADJOURNED 341 MEETING OF          0.4             428.00
                                     CREDITORS
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  06/13/24   J GURULE                 EMAIL WITH T BERGER REGARDING CLAIM        0.1             138.50
                                      DISCLOSURE FILING

  06/13/24   G OLIVERA                COMMUNICATIONS WITH COMMITTEE              0.3             379.50
                                      MEMBER AND OMM AND LOCAL COUNSEL
                                      TEAMS REGARDING COMMITTEE MEMBERS
                                      DISCLOSURES

  06/13/24   J GURULE                 DRAFT EMAIL UPDATE TO UCC FOLLOWING        0.2             277.00
                                      STATUS CONFERENCE

  06/17/24   J GURULE                 FINALIZE AGENDA AND SEND TO UCC            0.2             277.00
                                      MEMBERS

  06/17/24   J GURULE                 PREP FOR WEEKLY UCC MEETING                0.3             415.50

  06/18/24   N MOLNER                 ATTEND WEEKLY STANDING CALL WITH UCC       1.0           1,070.00

  06/18/24   J GURULE                 WEEKLY UCC MEETING                         0.6             831.00

  06/18/24   J GURULE                 TELEPHONE CONFERENCE WITH D. NOBLE         0.1             138.50
                                      RE UCC MEETING

  06/18/24   G OLIVERA                PARTICIPATE IN WEEKLY STANDING CALL        0.7             885.50
                                      WITH THE UNSECURED CREDITORS’
                                      COMMITTEE

  06/18/24   M KREMER                 UCC/DEBTORS WEEKLY CALL (.4);              0.9           1,264.50
                                      COMMITTEE WEEKLY UPDATE CALL (.5)

  06/21/24   J GURULE                 REVIEW HEARING SUMMARY EMAIL FOR UCC       0.2             277.00

  06/24/24   G OLIVERA                PREPARE AGENDA FOR STANDING                0.4             506.00
                                      COMMITTEE MEETING

  06/25/24   N MOLNER                 ATTEND STANDING CALL WITH UCC              0.7             749.00

  06/25/24   J GURULE                 EMAILS WITH UCC MEMBERS RE UPDATES         0.2             277.00

  06/25/24   J GURULE                 CIRCULATE AGENDA TO UCC                    0.2             277.00

  06/25/24   M KREMER                 CALL WITH DEBTORS COUNSEL (.4); WEEKLY     0.9           1,264.50
                                      CALL WITH UCC RE: UPDATES (.5)

  06/25/24   G OLIVERA                PARTICIPATE IN WEEKLY STANDING CALL        0.7             885.50
                                      WITH UNSECURED CREDITORS’ COMMITTEE

  06/25/24   J GURULE                 PREP FOR WEEKLY COMMITTEE MEETING          0.2             277.00

  06/25/24   J GURULE                 WEEKLY UCC CALL                            0.7             969.50

  06/27/24   J GURULE                 TC COUNSEL FOR DIGESTER                    0.2             277.00

  06/28/24   N MOLNER                 DRAFT CLIENT-FACING EMAIL SUMMARY OF       1.1           1,177.00
                                      DEBTOR MOTIONS FILED 6/27

  06/28/24   J GURULE                 DRAFT UPDATE EMAIL TO MEMBERS              0.2             277.00

  Total      B150 MEETINGS OF & COMMUNICATION W/ CREDITORS                      22.0          28,213.00

  B160 FEE/EMPLOYMENT APPLICATIONS

  06/18/24   G OLIVERA                COORDINATE FILING OF CERTIFICATE OF NO     0.1             126.50
                                      OBJECTION RE OMM RETENTION APP

  06/18/24   N MOLNER                 REVISE COVER SHEET APPLICATION SHELL       1.0           1,070.00
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  06/21/24   G OLIVERA               COMMUNICATIONS WITH OMM TEAM AND B.         0.5             632.50
                                     ANDERSON RE: OMM RETENTION
                                     APPLICATION

  06/24/24   G OLIVERA               COMMUNICATION WITH B. ANDERSON RE:          0.1             126.50
                                     OMM RETENTION APPLICATION

  Total      B160 FEE/EMPLOYMENT APPLICATIONS                                    1.7           1,955.50

  B185 ASSUMPTION/REJECTION LEASES/CONTRACTS

  06/06/24   G OLIVERA               REVIEW DEBTORS’ MOTION FOR APPROVAL         0.2             253.00
                                     OF POST-PETITION TRACTOR LEASE WITH
                                     BURKS TRACTOR

  Total      B185 ASSUMPTION/REJECTION LEASES/CONTRACTS                          0.2             253.00

  B190 OTHER CONTESTED MATTERS

  06/03/24   N MOLNER                CALL WITH J. GURULE, M. KREMER, AND G.      0.3             321.00
                                     OLIVERA REGARDING UPCOMING MOTIONS

  06/03/24   J GURULE                TELEPHONE CONFERENCE WITH DEBTORS           0.4             554.00
                                     COUNSEL REGARDING NEW MOTIONS

  06/04/24   J GURULE                REVIEW SILAGE MOTION (0.2), EMAILS WITH     0.3             415.50
                                     OMM TEAM REGARDING SAME (0.1)

  06/04/24   G OLIVERA               CONFERENCE CALL WITH OMM TEAM               0.6             759.00
                                     REGARDING PENDING MATTERS AND CASE
                                     STRATEGY

  06/05/24   G OLIVERA               REVIEW DEBTORS’ DRAFT MOTION FOR            0.2             253.00
                                     AUTHORITY TO PRE-PAY CERTAIN SILAGE
                                     AND HAY/STRAW VENDORS FOR FUTURE
                                     DELIVERIES

  06/05/24   G OLIVERA               REVIEW, ANALYZE, AND EDIT DEBTORS’          0.4             506.00
                                     MOTION TO ALLOW PRE-PAYMENT OF SILAGE

  06/05/24   N MOLNER                REVIEW AND COMMENT ON CREDITOR              0.4             428.00
                                     DECLARATION

  06/05/24   N MOLNER                COMMUNICATIONS WITH OMM TEAM                0.2             214.00
                                     REGARDING DEPOSIT MOTION

  06/05/24   N MOLNER                RESEARCH CASE LAW ON AUTHORITY TO           1.4           1,498.00
                                     USE ESTATE PROPERTY OUTSIDE THE
                                     ORDINARY COURSE OF BUSINESS

  06/05/24   N MOLNER                REVIEW AND COMMENT ON DEPOSIT MOTION        0.6             642.00

  06/05/24   J GURULE                TELEPHONE CONFERENCE WITH G. OLIVERA        0.3             415.50
                                     REGARDING OPEN ITEMS AND WORK
                                     STREAMS

  06/05/24   J GURULE                REVIEW DEBTORS' DEPOSIT MOTION              0.1             138.50

  06/06/24   J GURULE                TELEPHONE CONFERENCE WITH M KREMER          0.1             138.50
                                     REGARDING STRATEGY

  06/06/24   J GURULE                REVIEW MOTIONS TO SELL EQUIPMENT (.2)       0.4             554.00
                                     AND ENTER INTO LEASES (0.2)

  06/06/24   G OLIVERA               REVIEW, ANALYZE, AND EDIT DEBTORS'          0.4             506.00
                                     MOTION FOR AUTHORITY TO SELL AND
                                     PURCHASE EQUIPMENT

  06/06/24   J GURULE                REVIEW VITERRA DECLARATION                  0.1             138.50
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  06/06/24   M KREMER                REVIEW AND REVISE LAND VIEW                  1.7           2,388.50
                                     DECLARATION (.3); SEVERAL EMAILS WITH D.
                                     NOBLE REGARDING THE SAME (.3); REVIEW
                                     RABO OBJECTION TO 503(B)(9) AND REVISE
                                     SUMMARY OF SAME (.5); REVIEW AND REVISE
                                     REPLY AND PREPARE FOR FILING (.6)

  06/06/24   J GURULE                REVIEW LAND VIEW DECLARATION AND             0.2             277.00
                                     RELATED EMAILS

  06/06/24   G OLIVERA               REVIEW DEBTORS’ MOTION FOR APPROVAL          0.4             506.00
                                     OF PREPAYMENT OF HAY/STRAW, SILAGE
                                     AND CHOPPING

  06/07/24   J GURULE                REVIEW VITERRA BRIEFING                      0.2             277.00

  06/07/24   G OLIVERA               REVIEW COURT’S NOTICE OF DISCLOSURES         0.1             126.50
                                     FOR JUNE 20 EVIDENTIARY HEARING

  06/09/24   G OLIVERA               REVIEW LIMITED OBJECTION OF MOSS TO          0.1             126.50
                                     MOTION FOR APPROVAL OF PREPAYMENT OF
                                     HAY/STRAW, SILAGE AND CHOPPING
                                     VENDORS

  06/10/24   G OLIVERA               REVIEW AND ANALYZE RABO’S OBJECTION          0.4             506.00
                                     TO DEBTORS’ MOTION TO SHORTEN TIME
                                     FOR NOTICE OF HEARING

  06/10/24   J GURULE                TELEPHONE CONFERENCE WITH OLIVERA            0.1             138.50
                                     REGARDING UPDATES

  06/10/24   N MOLNER                DRAFT CLIENT SUMMARY OF RABO                 0.4             428.00
                                     OBJECTION TO DEBTORS' MOTION TO
                                     SHORTEN TIME

  06/10/24   G OLIVERA               REVIEW AND ANALYZE RABO’S MOTION TO          0.2             253.00
                                     SHORTEN TIME FOR HEARING ON DEBTORS’
                                     MOTION TO SHORTEN TIME

  06/10/24   M KREMER                REVIEW RABO OBJECTION ON TIMING (.2);        0.7             983.50
                                     REVISE SUMMARY (.2); EMAILS WITH OMM
                                     TEAM REGARDING THE SAME (.2); EMAIL
                                     WITH LOCAL COUNSEL REGARDING HEARING
                                     (.1)

  06/10/24   J GURULE                TELEPHONE CONFERENCE WITH KREMER             0.2             277.00
                                     REGARDING STRATEGY

  06/11/24   J GURULE                REVIEW RABO SUBPOENA                         0.1             138.50

  06/11/24   J GURULE                TELEPHONE CONFERENCE WITH KREMER             0.3             415.50
                                     REGARDING STRATEGY

  06/12/24   G OLIVERA               REVIEW AND ANALYZE RABO’S NOTICE OF          0.2             253.00
                                     INTENT TO SERVE SUBPOENA ON AMERICAN
                                     AGCREDIT

  06/12/24   M KREMER                CALL WITH DEBTORS REGARDING HEARING          0.7             983.50
                                     PREP (.5); PREPARE FOR THE SAME (.2)

  06/13/24   G OLIVERA               REVIEW CONTERRA WITNESS LIST                 0.1             126.50

  06/13/24   J GURULE                TELEPHONE CONFERENCE WITH KREMER             0.1             138.50
                                     REGARDING HEARING

  06/13/24   N MOLNER                ATTEND STATUS CONFERENCE AND                 1.2           1,284.00
                                     HEARING ON MOTIONS TO SHORTEN TIME
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  Date       Name                    Description                                   Hours           Amount

  06/13/24   N MOLNER                REVIEW AND COMMENT ON TRACTOR LEASE             0.4             428.00
                                     MOTION

  06/13/24   G OLIVERA               DRAFT COMMITTEE STATEMENTS FOR JUNE             0.2             253.00
                                     13 HEARING

  06/13/24   M KREMER                PREPARE FOR HEARING                             0.5             702.50

  06/13/24   J GURULE                ATTEND TELEPHONIC STATUS CONFERENCE             1.1           1,523.50
                                     AND HEARING ON MOTION TO SHORTEN

  06/13/24   M KREMER                REVIEW TESTIMONY OUTLINE AND REVISE             0.5             702.50
                                     SAME (.3); EMAIL WITH DENTONS REGARDING
                                     AMENDED 503(B)(9) SCHEDULE (.2)

  06/13/24   M KREMER                ATTEND STATUS CONFERENCE/HEARING ON             0.7             983.50
                                     URGENT SCHEDULING MOTION

  06/13/24   G OLIVERA               ATTEND JUNE 13 OMNIBUS TELEPHONIC               1.1           1,391.50
                                     HEARING

  06/13/24   G OLIVERA               REVIEW AND ANALYZE CONTERRA EXHIBITS            0.5             632.50
                                     FOR JUNE 20 EVIDENTIARY HEARING

  06/14/24   J GURULE                EMAILS WITH KREMER REGARDING FILINGS            0.1             138.50

  06/14/24   M KREMER                REVIEW AND REVISE TESTIMONY OUTLINE             0.3             421.50

  06/14/24   M KREMER                EMAIL TO OMM TEAM REGARDING OMNIBUS             0.1             140.50
                                     RESPONSE

  06/17/24   M KREMER                REVIEW AND REVISE OMNIBUS STATEMENT             0.4             562.00

  06/17/24   M KREMER                REVIEW AND REVISE WITNESS OUTLINE (.3);         1.1           1,545.50
                                     EMAIL WITH D. NOBLE (.2); ATTEND LAND
                                     VIEW PREP SESSIONS (.6)

  06/17/24   G OLIVERA               EDIT STATEMENT IN SUPPORT OF JUNE 20            0.7             885.50
                                     MOTIONS

  06/18/24   M KREMER                REVIEW DECLARATIONS (.5); PREPARE FOR           0.9           1,264.50
                                     HEARING (.4)

  06/19/24   M KREMER                MEETING WITH DEBTOR COUNSEL RE:                 1.8           2,529.00
                                     HEARING PREP (1.0); PREPARE FOR HEARING
                                     (.8)

  06/20/24   M KREMER                PREPARE FOR HEARING (.4); MEETING WITH          0.9           1,264.50
                                     UCC MEMBERS (.5)

  06/20/24   M KREMER                CONTESTED HEARING ON (1) 503(B)(9); (2) DIP     7.5          10,537.50
                                     DRAW; (3) SILAGE MOTION; AND (4) BURKE
                                     TRACTOR MOTION

  06/21/24   G OLIVERA               REVIEW AND ANALYZE COURT ORDER RE:              0.4             506.00
                                     RULINGS ON JUNE 20 MOTIONS

  06/21/24   G OLIVERA               REVIEW SUMMARY OF JUNE 20 HEARING               0.2             253.00

  06/21/24   N MOLNER                REVIEW AND SUMMARIZE COURT'S DECISION           0.2             214.00
                                     ON DEBTORS' MOTIONS FOR SILAGE, DIP
                                     DRAW, 503(B)(9) CLAIMS, AND EQUIPMENT
                                     LEASE

  06/22/24   N MOLNER                DRAFT CLIENT-FACING EMAIL REGARDING             0.4             428.00
                                     COURT'S DECISION ON DEBTORS' MOTIONS
                                     FOR SILAGE, DIP DRAW, 503(B)(9) CLAIMS,
                                     AND EQUIPMENT LEASE
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  06/22/24   G OLIVERA                  EDIT SUMMARY OF COURT ORDER RE:               0.3             379.50
                                        RULINGS ON JUNE 20 MOTIONS

  06/27/24   G OLIVERA                  REVIEW DEBTORS’ LIMITED MOTION TO             0.2             253.00
                                        SHORTEN TIME FOR NOTICE OF HEARING

  06/27/24   G OLIVERA                  REVIEW AND ANALYZE EXHIBITS FROM JUNE         0.9           1,138.50
                                        20 HEARING

  06/27/24   M KREMER                   REVIEW MOTION FOR CONTINUED USE CASH          1.2           1,686.00
                                        COLLATERAL (.3); MOTION TO EXTEND
                                        EXCLUSIVITY (.3); 506(B) PROCEDURES (.2);
                                        AND SHORTEN TIME (.2); REVIEW AND REVISE
                                        SUMMARY (.2)

  06/28/24   G OLIVERA                  EDIT SUMMARY OF MOTION FILED ON JULY 27       0.4             506.00
                                        FOR THE COMMITTEE

  Total      B190 OTHER CONTESTED MATTERS                                            36.6          48,378.50

  B195 NON-WORKING TRAVEL

  06/19/24   M KREMER                   NON-WORKING TRAVEL FROM NY TO BOISE           3.0           4,215.00
                                        IDAHO (BILL AT 1/2 TIME)

  06/21/24   M KREMER                   NON-WORKING TRAVEL BOISE TO NY (BILL AT       3.0           4,215.00
                                        1/2 TIME)

  Total      B195 NON-WORKING TRAVEL                                                  6.0           8,430.00

  B210 BUSINESS OPERATIONS

  06/06/24   M KREMER                   REVIEW AND REVISE MOTION TO SELL AND          0.4             562.00
                                        PURCHASE EQUIPMENT (2); EMAILS
                                        REGARDING CONSENT RIGHTS (.2)

  06/07/24   G OLIVERA                  REVIEW PROPOSED QUESTIONS FOR                 0.2             253.00
                                        KANDER REGARDING DEBTORS’ FINANCES

  06/12/24   G OLIVERA                  REVIEW AND ANALYZE DEBTORS’ PERIODIC          0.6             759.00
                                        REPORT REGARDING VALUE, OPERATIONS,
                                        AND PROFITABILITY OF ENTITIES IN WHICH
                                        THE DEBTOR’S ESTATE HOLDS A
                                        SUBSTANTIAL OR CONTROLLING INTEREST

  06/17/24   G OLIVERA                  REVIEW ARMORY’S ANALYSIS OF MEETING           0.4             506.00
                                        WITH FORBES AND KANDER

  06/21/24   G OLIVERA                  REVIEW AND ANALYZE DEBTORS’ MONTHLY           0.7             885.50
                                        OPERATING REPORT

  06/24/24   G OLIVERA                  COMMUNICATIONS WITH ARMORY TEAM RE:           0.2             253.00
                                        BUSINESS OPERATIONS AND PLAN
                                        STRATEGY

  06/24/24   G OLIVERA                  REVIEW AND ANALYZE MONTHLY OPERATING          0.8           1,012.00
                                        REPORT FOR MAY FILED BY DEBTOR
                                        MILLENKAMP CATTLE, INC.

  Total      B210 BUSINESS OPERATIONS                                                 3.3           4,230.50

  B230 FINANCING/CASH COLLATERAL

  06/03/24   G OLIVERA                  REVIEW AND ANALYZE DOCUMENTS                  1.1           1,391.50
                                        PRODUCED BY THE DEBTORS

  06/03/24   G OLIVERA                  COMMUNICATIONS WITH DEBTORS’ COUNSEL          0.6             759.00
                                        REGARDING INITIAL DOCUMENT REQUESTS
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  Date       Name                    Description                              Hours           Amount

  06/03/24   J GURULE                TELEPHONE CONFERENCE WITH MCDONALD         0.4             554.00
                                     REGARDING WORK STREAMS

  06/04/24   J GURULE                TELEPHONE CONFERENCE WITH D.               0.1             138.50
                                     MCDONALD REGARDING STATUS AND PREP

  06/05/24   J GURULE                EMAILS WITH ARMORY REGARDING DIP           0.1             138.50
                                     ANALYSIS

  06/06/24   G OLIVERA               REVIEW, ANALYZE, AND EDIT DEBTORS’         0.6             759.00
                                     MOTION FOR AUTHORITY TO ADVANCE ON
                                     THE DIP FACILITY

  06/06/24   J GURULE                ANALYSIS OF RABO DIP OBJECTION             0.3             415.50

  06/06/24   N MOLNER                REVIEW AND COMMENT ON DIP DRAW             0.4             428.00
                                     MOTION

  06/06/24   J GURULE                ANALYSIS OF DIP ISSUES                     0.2             277.00

  06/06/24   M KREMER                REVIEW AND REVISE DIP DRAW MOTION          0.4             562.00

  06/06/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ VARIANCE       0.5             632.50
                                     REPORTING PACKAGE

  06/06/24   J GURULE                REVIEW DIP MOTION                          0.2             277.00

  06/06/24   J GURULE                ANALYSIS OF BUDGET                         0.3             415.50

  06/07/24   J GURULE                TELEPHONE CONFERENCE WITH MCDONALD         0.1             138.50
                                     REGARDING FINANCIALS

  06/07/24   G OLIVERA               REVIEW AND ANALYZE DETAILED 13-WEEK        0.4             506.00
                                     DIP BUDGET

  06/08/24   J GURULE                EMAIL FROM MCDONALD REGARDING              0.1             138.50
                                     KANDER CALL

  06/10/24   J GURULE                REVIEW ARMORY VARIANCE REPORT              0.3             415.50

  06/10/24   J GURULE                EMAIL T EVANS REGARDING LIEN REVIEW        0.1             138.50

  06/11/24   G OLIVERA               EMAIL ARMORY TEAM REGARDING DEBTORS’       0.1             126.50
                                     DIP VARIANCE

  06/13/24   G OLIVERA               REVIEW AND ANALYZE THE NEW WEEKLY          0.7             885.50
                                     VARIANCE REPORT

  06/13/24   J GURULE                INTERNAL CALL REGARDING LIEN REVIEW        0.3             415.50

  06/13/24   L GREY                  REVIEW LIEN AND LITIGATION SEARCH          1.0             510.00
                                     RESULTS RECEIVED FROM THE STATE OF
                                     IDAHO; CORRESPOND WITH N. MOLNER WITH
                                     REGARD TO STATUS OF REVIEW

  06/13/24   N MOLNER                ATTEND CALL WITH J. GURULE, M. KREMER,     0.3             321.00
                                     T. EVANS, G. OLIVERA, AND D. KELLY
                                     REGARDING LIEN INVESTIGATION

  06/13/24   J GURULE                REVIEW VARIANCE MATERIALS                  0.2             277.00

  06/18/24   J GURULE                TELEPHONE CONFERENCE WITH D.               0.1             138.50
                                     MCDONALD RE STATUS

  06/18/24   G OLIVERA               REVIEW ARMORY’S ANALYSIS OF THE            0.3             379.50
                                     DEBTORS’ WEEKLY VARIANCE REPORT
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  Date       Name                    Description                              Hours           Amount

  06/18/24   N MOLNER                ATTEND CALL WITH G. OLIVERA AND A.         0.2             214.00
                                     DAMIANI REGARDING DEBTOR DATA ROOM
                                     REVIEW

  06/20/24   G OLIVERA               REVIEW AND ANALYZE RABO’S OBJECTION        0.7             885.50
                                     TO THE DEBTORS’ SILAGE MOTION AND DIP
                                     DRAW MOTION

  06/20/24   G OLIVERA               REVIEW AND ANALYZE WEEKLY DIP              0.7             885.50
                                     FINANCING VARIANCE REPORT

  06/21/24   N MOLNER                REVIEW AND REVISE DEBTORS' DATA ROOM       0.8             856.00
                                     INDEX

  06/25/24   G OLIVERA               CONFER WITH OMM AND ARMORY TEAMS RE:       0.4             506.00
                                     DIP BUDGET

  06/25/24   G OLIVERA               REVIEW AND ANALYZE ARMORY’S WEEKLY         0.5             632.50
                                     VARIANCE ANALYSIS

  06/25/24   G OLIVERA               COMMUNICATIONS WITH OMM TEAM RE: DIP       0.2             253.00
                                     BUDGET

  06/25/24   M KREMER                EMAIL RE: BUDGET AND REVIEW SAME           0.3             421.50

  06/25/24   J GURULE                EMAIL WITH OMM TEAM RE DIP BUDGET          0.1             138.50

  06/26/24   J GURULE                ANALYSIS OF ARMORY AND KANDER              0.2             277.00
                                     UPDATES

  06/26/24   G OLIVERA               ANALYZE DIP BUDGET WITH ARMORY             0.3             379.50

  06/27/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ SECOND         0.7             885.50
                                     MOTION FOR CONTINUED USE OF CASH
                                     COLLATERAL

  Total      B230 FINANCING/CASH COLLATERAL                                    14.3          17,473.00

  B250 REAL ESTATE

  06/13/24   D LEAL                  REVIEW MILLENKAMP DATA ROOM AND            1.8           1,548.00
                                     BANKRUPTCY DOCUMENTATION REGARDING
                                     REAL PROPERTY ASSETS AND OVERALL
                                     MATTER CONTEXT; INITIAL DRAFT OF NOTES
                                     REGARDING REAL PROPERTY ANALYSIS AND
                                     LIEN REVIEW

  06/14/24   D LEAL                  FURTHER REVIEW OF MILLENKAMP DATA          1.5           1,290.00
                                     ROOM; DRAFT WRITE UP OF REAL PROPERTY
                                     ASSETS FOR T. EVANS REVIEW

  06/21/24   D LEAL                  CORRESPONDENCE W/ D. KELLY RE:             1.0             860.00
                                     MORTGAGE REVIEW; REVIEW DATA ROOM
                                     AND MORTGAGE DOCUMENTATION;
                                     CORRESPONDENCE W/ T. EVANS RE: LOAN
                                     DOCUMENTATION REVIEW AND REAL
                                     PROPERTY; REVIEW UPDATED DATA ROOM
                                     INDEX;

  06/24/24   D LEAL                  FURTHER REVIEW OF DATA ROOM RE:            0.5             430.00
                                     SUPPLEMENTAL REQUESTS;
                                     CORRESPONDENCE W/ D. KELLY RE:
                                     PAUSING REVIEW OF REAL ESTATE
                                     DOCUMENTATION UNTIL FURTHER NOTICE;
                                     CORRESPONDENCE W/ T. EVANS RE: SAME

  Total      B250 REAL ESTATE                                                   4.8           4,128.00
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  Date       Name                    Description                                Hours           Amount

  B300 CLAIMS & PLAN

  06/01/24   G OLIVERA               DRAFT AND EDIT REPLY IN SUPPORT OF           3.7           4,680.50
                                     DEBTORS’ AMENDED 503(B)(9) MOTION

  06/01/24   N MOLNER                PROOF AND EDIT REPLY IN SUPPORT OF           0.4             428.00
                                     503(B)(9) MOTION

  06/01/24   N MOLNER                DRAFT REPLY IN SUPPORT OF 503(B)(9)          0.7             749.00
                                     MOTION

  06/01/24   N MOLNER                RESEARCH CASES WHERE COURTS                  1.2           1,284.00
                                     AUTHORIZED PAYMENT OF SECTION 503(B)(9)
                                     CLAIMS FOR REPLY IN SUPPORT OF 503(B)(9)
                                     MOTION

  06/03/24   G OLIVERA               EDIT COMMITTEE REPLY IN SUPPORT OF           0.8           1,012.00
                                     DEBTORS’ 503(B)(9) MOTION

  06/03/24   N MOLNER                CALL WITH OMM TEAM AND DEBTORS'              0.4             428.00
                                     COUNSEL REGARDING UPCOMING MOTIONS
                                     AND 503(B)(9) MOTION

  06/03/24   M KREMER                UCC/METLIFE CALL (.4); CALL WITH DENTONS     1.7           2,388.50
                                     REGARDING UST OBJECTION 503(B)(9) (.5);
                                     EMAILS REGARDING EVIDENTIARY SUPPORT
                                     AND NEXT STEPS (.2); REVIEW AND REVISE
                                     DRAFT 503(B)(9) REPLY (.6)

  06/03/24   G OLIVERA               CONFERENCE CALL WITH OMM TEAM                0.5             632.50
                                     REGARDING REPLY IN SUPPORT OF
                                     DEBTORS’ 503(B)(9) MOTION

  06/03/24   G OLIVERA               CONFERENCE CALL WITH OMM TEAM AND            0.3             379.50
                                     DEBTORS’ COUNSEL REGARDING REPLY IN
                                     SUPPORT OF DEBTORS’ 503(B)(9) MOTION

  06/03/24   G OLIVERA               EMAIL LOCAL COUNSEL REGARDING                0.2             253.00
                                     EVIDENTIARY ISSUES PERTAINING TO REPLY
                                     IN SUPPORT OF DEBTORS’ AMENDED
                                     503(B)(9) MOTION

  06/04/24   G OLIVERA               EDIT DRAFT BAR DATE MOTION                   0.8           1,012.00

  06/04/24   N MOLNER                DRAFT BAR DATE MOTION AND NOTICE             3.5           3,745.00

  06/04/24   G OLIVERA               REVIEW AND EDIT DRAFT FORM                   0.2             253.00
                                     DECLARATION IN SUPPORT OF DEBTORS’
                                     503(B)(9) MOTION

  06/04/24   J GURULE                EMAILS WITH M. KREMER REGARDING 503B9        0.1             138.50

  06/04/24   J GURULE                REVIEW BAR DATE MOTION DRAFT                 0.2             277.00

  06/05/24   G OLIVERA               EMAILS TO COUNSEL FOR THE DEBTORS            0.3             379.50
                                     REGARDING BAR DATE ORDER AND REPLY IN
                                     SUPPORT OF 503(B)(9) MOTION

  06/05/24   G OLIVERA               EDIT DRAFT BAR DATE MOTION                   0.7             885.50

  06/05/24   G OLIVERA               REVIEW AND ANALYZE LAND VIEW                 0.3             379.50
                                     DECLARATION IN SUPPORT OF 503(B)(9)
                                     MOTION

  06/05/24   G OLIVERA               EMAIL LOCAL COUNSEL REGARDING REPLY          0.2             253.00
                                     IN SUPPORT OF 503(B)(9) MOTION

  06/05/24   J GURULE                REVIEW AND ANALYZE 503(B)(9) MATERIALS       0.3             415.50
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  Date       Name                    Description                               Hours           Amount

  06/06/24   G OLIVERA               EDIT COMMITTEE’S REPLY IN SUPPORT OF        0.7             885.50
                                     AMENDED 503(B)(9) MOTION

  06/06/24   J GURULE                TELEPHONE CONFERENCE WITH A BURNS           0.2             277.00
                                     REGARDING 503(B)(9)

  06/06/24   G OLIVERA               COORDINATE FILING OF COMMITTEE’S REPLY      0.3             379.50
                                     IN SUPPORT OF AMENDED 503(B)(9) MOTION

  06/06/24   G OLIVERA               REVIEW VITERRA’S DECLARATION IN             0.2             253.00
                                     SUPPORT OF AMENDED 503(B)(9) MOTION

  06/06/24   N MOLNER                REVISE REPLY IN SUPPORT OF AMENDED          0.7             749.00
                                     503(B)(9) MOTION

  06/06/24   N MOLNER                DRAFT CLIENT SUMMARY OF RABO                0.7             749.00
                                     OBJECTION TO DEBTORS' 503(B)(9) MOTION

  06/06/24   G OLIVERA               REVIEW AND ANALYZE RABO’S OBJECTION         0.6             759.00
                                     TO DEBTORS’ AMENDED 503(B)(9) MOTION
                                     AND DECLARATION IN SUPPORT OF ITS
                                     OBJECTION

  06/07/24   G OLIVERA               REVIEW VITERRA’S RESPONSE IN SUPPORT        0.2             253.00
                                     OF THE DEBTORS’ MOTION TO ALLOW
                                     503(B)(9) CLAIMS

  06/07/24   J GURULE                REVIEW AND EMAIL UCC REGARDING BAR          0.2             277.00
                                     DATE ORDER

  06/07/24   J GURULE                REVIEW 503B9 OBJECTION                      0.1             138.50

  06/10/24   J GURULE                REVIEW AND EMAILS WITH OMM TEAM             0.3             415.50
                                     REGARDING 503B9

  06/11/24   J GURULE                TELEPHONE CONFERENCE WITH M KREMER          0.1             138.50
                                     REGARDING 503(B)(9) ISSUES

  06/11/24   M KREMER                CALL WITH J. GURULE REGARDING 503(B)(9)     0.5             702.50
                                     HEARING PREP (.2); DRAFT AND REVISE
                                     REMARKS REGARDING THE SAME (.3)

  06/12/24   G OLIVERA               REVIEW RABO’S NOTICE OF NO OBJECTION        0.1             126.50
                                     TO ALLOWANCE OF LAND VIEW’S 503(B)(9)
                                     CLAIM

  06/12/24   G OLIVERA               REVIEW RABO’S NOTICE OF NO OBJECTION        0.1             126.50
                                     TO ALLOWANCE OF VITERRA'S 503(B)(9)
                                     CLAIM

  06/13/24   G OLIVERA               COORDINATE FILING OF JDH AMENDED            0.2             253.00
                                     CERTIFICATION REGARDING CLAIMS

  06/13/24   N MOLNER                REVIEW AND COMMENT ON REVISED               0.2             214.00
                                     503(B)(9) CLAIM OF COMMITTEE MEMBER

  06/14/24   G OLIVERA               REVIEW VITERRA WITNESS LIST                 0.1             126.50

  06/14/24   G OLIVERA               REVIEW AND ANALYZE SUPPLEMENT TO            0.3             379.50
                                     DEBTORS’ AMENDED MOTION FOR
                                     ALLOWANCE AND PAYMENT OF SECTION
                                     503(B)(9) CLAIMS

  06/18/24   G OLIVERA               REVIEW AND ANALYZE SUPPLEMENT TO            0.6             759.00
                                     DEBTORS' AMENDED MOTION FOR
                                     ALLOWANCE AND PAYMENT OF SECTION
                                     503(B)(9) CLAIMS
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  Date       Name                    Description                              Hours           Amount

  06/19/24   G OLIVERA               REVIEW AND ANALYZE MWI VETERINARIAN        0.2             253.00
                                     SUPPLY’S DECLARATION IN SUPPORT OF
                                     DEBTOR'S AMENDED MOTION FOR
                                     ALLOWANCE AND PAYMENT OF SECTION
                                     503(B)(9) CLAIMS

  06/21/24   M KREMER                REVIEW COURT ORDER ON 503(B)(9) CLAIMS     0.4             562.00
                                     AND EMAILS WITH OMM TEAM RE: THE SAME

  06/27/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ MOTION TO      0.3             379.50
                                     ESTABLISH PROCEDURE FOR 11 U.S.C. §
                                     506(B) CLAIMS

  06/28/24   G OLIVERA               REVIEW AND ANALYZE REVIEW AND ANALYZE      0.6             759.00
                                     MOTION FOR ALLOWANCE AND PAYMENT OF
                                     ADMINISTRATIVE CLAIM FILED BY CREDITOR
                                     VALLEY WIDE COOPERATIVE

  06/28/24   G OLIVERA               REVIEW AND ANALYZE METLIFE PROOFS OF       0.9           1,138.50
                                     CLAIM

  Total      B300 CLAIMS & PLAN                                                25.3          31,027.50

  B320 PLAN & DISCLOSURE STATEMENT

  06/27/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ MOTION TO      0.4             506.00
                                     EXTEND EXCLUSIVE PERIOD TO FILE
                                     DISCLOSURE STATEMENT AND PLAN

  Total      B320 PLAN & DISCLOSURE STATEMENT                                   0.4             506.00

  B400 BANKRUPTCY-RELATED ADVICE

  06/04/24   G OLIVERA               PARTICIPATE IN STANDING MEETING WITH       0.5             632.50
                                     DEBTORS’ PROFESSIONALS

  06/07/24   M KREMER                EMAILS WITH OMM TEAM REGARDING             0.3             421.50
                                     UPCOMING HEARING AND PREPARE FOR THE
                                     SAME

  06/11/24   N MOLNER                ATTEND WEEKLY STANDING CALL WITH           0.5             535.00
                                     DEBTORS AND PROFESSIONALS

  06/11/24   J GURULE                STANDING WEEKLY CALL WITH DEBTORS          0.5             692.50

  06/11/24   G OLIVERA               PREPARE FOR STANDING CALL WITH             0.4             506.00
                                     DEBTORS’ PROFESSIONALS

  06/12/24   G OLIVERA               COMMUNICATIONS WITH OMM TEAM               0.2             253.00
                                     REGARDING LIEN REVIEW

  06/12/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ STATUS         0.2             253.00
                                     REPORT FOR JUNE 2024 OMNIBUS HEARING

  06/13/24   G OLIVERA               CONFERENCE CALL WITH OMM TEAM              0.3             379.50
                                     REGARDING LIEN REVIEW

  06/18/24   G OLIVERA               CONFERENCE CALL WITH OMM TEAM RE:          0.4             506.00
                                     DOCUMENT REVIEW

  06/18/24   J GURULE                TELEPHONE CONFERENCE WITH M. KREMER        0.2             277.00
                                     RE STATUS AND HEARING PREP

  06/18/24   N MOLNER                ATTEND CALL WITH DEBTORS AND               0.5             535.00
                                     PROFESSIONALS

  06/18/24   G OLIVERA               PARTICIPATE IN STANDING MEETING WITH       0.4             506.00
                                     DEBTORS’ COUNSEL
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  06/19/24   G OLIVERA                   REVIEW DEBTORS’ AMENDED EXHIBIT LIST           0.1             126.50

  06/19/24   G OLIVERA                   REVIEW RABO’S EXHIBITS FOR JUNE 20             0.7             885.50
                                         HEARING

  06/19/24   G OLIVERA                   REVIEW VITERRA USA GRAIN, LLC AND              0.4             506.00
                                         VITERRA USA INGREDIENTS, LLC’S EXHIBITS
                                         FOR JUNE 20 HEARING

  06/19/24   G OLIVERA                   REVIEW AND ANALYZE DEBTORS’ EXHIBITS           0.6             759.00
                                         FOR JUNE 20 HEARING

  06/19/24   G OLIVERA                   REVIEW US TRUSTEE’S EXHIBIT LIST               0.1             126.50

  06/20/24   J GURULE                    REVIEW COURT HEARING SUMMARY                   0.2             277.00

  06/21/24   G OLIVERA                   REVIEW CONTERRA’S § 546(B) NOTICES             0.2             253.00

  06/25/24   G OLIVERA                   CONFERENCE CALL WITH DEBTORS AND UCC           0.5             632.50
                                         PROFESSIONALS RE: CASE STRATEGY AND
                                         PENDING MATTERS

  06/25/24   N MOLNER                    ATTEND STANDING CALL WITH DEBTORS AND          0.5             535.00
                                         PROFESSIONALS

  06/25/24   J GURULE                    WEEKLY MEETING WITH DEBTORS' ADVISORS          0.5             692.50

  06/25/24   G OLIVERA                   PREPARE FOR MEETING WITH DEBTORS’              0.4             506.00
                                         PROFESSIONALS RE: CASE STRATEGY

  Total      B400 BANKRUPTCY-RELATED ADVICE                                             8.6          10,796.50

  B410 GENERAL BANKRUPCTY ADVICE/OPINIONS

  06/04/24   M KREMER                    UCC CALL WITH DEBTORS COUNSEL (.4);            3.0           4,215.00
                                         WEEKLY COMMITTEE CALL (.5); REVISE
                                         AGENDA (.2); CALL WITH OMM TEAM
                                         REGARDING WORK STREAMS AND REVISE
                                         SAME (.3); CALL WITH R. CICERO REGARDING
                                         LIEN INVESTIGATION AND BACKGROUND (.4);
                                         REVIEW AND REVISE SILAGE MOTION (.8);
                                         REVIEW AND REVISE DECLARATIONS IN
                                         SUPPORT OF 503(B)(9) (.3); EMAILS WITH UCC
                                         MEMBERS REGARDING THE SAME (.2);
                                         REVIEW DIP ORDER (.3)

  06/05/24   M KREMER                    REVIEW AND REVISE CREDITOR                     2.0           2,810.00
                                         DECLARATIONS IN SUPPORT OF 503(B)(9)
                                         RELIEF (.5); REVIEW AND REVISE 503(B)(9)
                                         REPLY (.4); REVIEW AND REVISE 363(B)(1)
                                         MOTION (.3); EMAIL REGARDING H&M
                                         CUSTOM (.2); CONFER WITH N. MOLNER AND
                                         G. OLIVERA REGARDING OPEN ITEMS (.2);
                                         REVIEW DATA ROOM DOCUMENTS (.4)

  Total      B410 GENERAL BANKRUPCTY ADVICE/OPINIONS                                    5.0           7,025.00

  Total                                                                               181.6       $210,139.00


  Less 15% Discount                                                                                (31,520.85)

  Total Fees After Adjustment                                                                       178,618.15
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  Disbursements
  Copying                                                                               $155.25
  Expense Report Other (Incl. Out of Town Travel)                                        625.22
  Local Travel                                                                           234.25
  Meals                                                                                   54.81
  Online Research                                                                        216.91

  Total Disbursements                                                                 $1,286.44


  Total Current Invoice                                                            $179,904.59
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 Timekeeper Summary
  Timekeeper                            Title                        Rate   Hours           Amount
  RYAN CICERO                           Partner                  1,585.00     3.5           5,547.50
  TIM EVANS                             Partner                  1,425.00     2.5           3,562.50
  MATTHEW P. KREMER                     Partner                  1,405.00    38.9          54,654.50
  JULIAN GURULE                         Partner                  1,385.00    21.1          29,223.50
  Total for Partner                                                          66.0          92,988.00

  GABRIEL L. OLIVERA                    Counsel                  1,265.00    45.0          56,925.00
  Total for Counsel                                                          45.0          56,925.00

  DECLAN P. KELLY                       Associate                1,070.00    17.6          18,832.00
  NICOLE MOLNER                         Associate                1,070.00    24.9          26,643.00
  DANIEL W. LEAL                        Associate                  860.00     4.8           4,128.00
  Total for Associate                                                        47.3          49,603.00

  LAKE GREY                             Paralegal                 510.00     15.8           8,058.00
  Total for Paralegal                                                        15.8           8,058.00

  AUSTIN J. DAMIANI                     Assoc - Summer            370.00      6.0           2,220.00
  Total for Assoc - Summer                                                    6.0           2,220.00

  ALEXANDER ROTI                        Project Assistant         230.00      1.5             345.00
  Total for Project Assistant                                                 1.5             345.00


  Total                                                                     181.6         210,139.00
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 O’Melveny & Myers LLP                T: +1 213 430 6000
 400 South Hope Street                F: +1 213 430 6407
 18th Floor                           omm.com
 Los Angeles, CA 90071-2899




                                                                                    August 15, 2024



  MILLENKAMP CATTLE CHAPTER 11

  For Professional Services Rendered Through July 31, 2024

  Total Fees                                                                                                            $97,818.00

  Less 15% Discount                                                                                                     (14,672.70)

  Total Fees After Adjustment                                                                                           $83,145.30

  Total Disbursements                                                                                                    $1,024.21

  Total Current Invoice                                                                                                 $84,169.51




   Austin • Century City • Dallas • Houston • Los Angeles • Newport Beach • New York • San Francisco • Silicon Valley • Washington, DC
                             Beijing • Brussels • Hong Kong • London • Seoul • Shanghai • Singapore • Tokyo
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 MILLENKAMP CATTLE CHAPTER 11

 For Professional Services Rendered Through July 31, 2024

  Date       Name                       Description                             Hours           Amount

  B110 CASE ADMINISTRATION

  07/09/24   G OLIVERA                  CONFERENCE CALL WITH DEBTORS’             0.5             632.50
                                        COUNSEL RE: PENDING MATTERS

  07/09/24   J GURULE                   WEEKLY UPDATE CALL WITH DEBTORS           0.5             692.50
                                        COUNSEL

  07/09/24   M KREMER                   WEEKLY CALL WITH DEBTORS COUNSEL          0.5             702.50

  07/10/24   J GURULE                   REVIEW SCHEDULING STIPULATION AND         0.1             138.50
                                        EMAIL TO M. CHRISTENSEN RE SAME

  07/16/24   G OLIVERA                  CONFERENCE CALL WITH DEBTORS’             0.5             632.50
                                        COUNSEL RE: PENDING MATTERS

  07/16/24   J GURULE                   WEEKLY CALL WITH UCC/DEBTOR               0.5             692.50
                                        PROFESSIONALS

  07/16/24   M KREMER                   WEEKLY CALL WITH UCC                      0.6             843.00

  07/16/24   M KREMER                   WEEKLY CALL WITH UCC/DEBTOR               0.5             702.50
                                        PROFESSIONALS

  07/16/24   J GURULE                   PREP FOR CALL W DEBTORS RE UPDATES        0.2             277.00

  07/16/24   N MOLNER                   ATTEND WEEKLY CALL WITH DEBTORS AND       0.5             535.00
                                        PROFESSIONALS

  07/23/24   G OLIVERA                  CONFERENCE CALL WITH DEBTORS’             0.3             379.50
                                        COUNSEL RE PENDING MATTERS AND CASE
                                        STRATEGY

  07/23/24   N MOLNER                   ATTEND WEEKLY DEBTORS AND                 0.3             321.00
                                        PROFESSIONALS CALL

  07/23/24   M KREMER                   WEEKLY CALL WITH DEBTORS COUNSEL          0.3             421.50

  Total      B110 CASE ADMINISTRATION                                             5.3           6,970.50

  B120 ASSET ANALYSIS & RECOVERY

  07/02/24   G OLIVERA                  REVIEW COMPANY’S RECENT BUSINESS          0.2             253.00
                                        PURCHASES

  07/16/24   J GURULE                   CONFERENCE CALL WITH ARMORY TEAM RE       0.2             277.00
                                        CASE STRATEGY AND BUSINESS
                                        OPERATIONS

  Total      B120 ASSET ANALYSIS & RECOVERY                                       0.4             530.00

  B140 RELIEF FROM STAY PROCEEDINGS

  07/02/24   G OLIVERA                  REVIEW AND ANALYZE MOTION FOR RELIEF      0.6             759.00
                                        FROM STAY FILED BY BRANDY
                                        BARTHOLEMEW

  07/03/24   G OLIVERA                  REVIEW AND ANALYZE DEBTOR’S OBJECTION     0.3             379.50
                                        TO THE MOTION FOR RELIEF FROM THE
                                        AUTOMATIC STAY FILED BY BRANDY
                                        BARTHOLOMEW

  Total      B140 RELIEF FROM STAY PROCEEDINGS                                    0.9           1,138.50
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  Date       Name                    Description                             Hours           Amount

  B150 MEETINGS OF & COMMUNICATION W/ CREDITORS

  07/01/24   M KREMER                REVIEW AND REVISE AGENDA AND PREPARE      0.4             562.00
                                     FOR COMMITTEE CALLS

  07/02/24   N MOLNER                ATTEND WEEKLY CALL WITH UCC               0.5             535.00

  07/02/24   G OLIVERA               WEEKLY STANDING CALL WITH CREDITORS’      0.4             506.00
                                     COMMITTEE

  07/02/24   J GURULE                EDIT AND CIRCULATE AGENDA TO UCC          0.2             277.00

  07/02/24   J GURULE                PREP FOR UCC MEETING                      0.2             277.00

  07/02/24   M KREMER                WEEKLY CALL WITH DEBTOR COUNSEL (.5);     1.0           1,405.00
                                     WEEKLY CALL WITH UCC (.5)

  07/02/24   J GURULE                WEEKLY UCC MEETING                        0.4             554.00

  07/03/24   N MOLNER                REVISE UCC MEETING MINUTES                0.2             214.00

  07/08/24   G OLIVERA               DRAFT AGENDA FOR STANDING UCC             0.3             379.50
                                     MEETING

  07/09/24   G OLIVERA               PARTICIPATE IN WEEKLY CONFERENCE CALL     0.5             632.50
                                     WITH CREDITORS’ COMMITTEE

  07/09/24   J GURULE                EMAIL STANDING MEETING AGENDA TO UCC      0.1             138.50
                                     MEMBERS

  07/09/24   J GURULE                WEEKLY UCC MEETING                        0.5             692.50

  07/09/24   M KREMER                WEEKLY CALL WITH UCC MEMBERS              0.5             702.50

  07/10/24   J GURULE                DRAFT UPDATE EMAIL TO UCC MEMBERS RE:     0.2             277.00
                                     PENDING MATTERS

  07/11/24   G OLIVERA               DRAFT SUMMARIES OF RECENT PLEADINGS       1.1           1,391.50
                                     FOR THE UNSECURED CREDITORS’
                                     COMMITTEE

  07/15/24   G OLIVERA               DRAFT AGENDA FOR WEEKLY STANDING          0.4             506.00
                                     CALL WITH UNSECURED CREDITORS’
                                     COMMITTEE

  07/16/24   N MOLNER                ATTEND WEEKLY CALL WITH COMMITTEE         0.6             642.00

  07/16/24   J GURULE                SEND AGENDA EMAIL TO UCC                  0.1             138.50

  07/16/24   J GURULE                WEEKLY UCC MEETING                        0.6             831.00

  07/18/24   G OLIVERA               EDIT SUMMARY OF JULY 18 HEARING FOR       0.6             759.00
                                     THE UNSECURED CREDITORS’ COMMITTEE

  07/19/24   J GURULE                REVIEW UCC COMMUNICATION RE: OMNIBUS      0.1             138.50
                                     HEARING

  07/24/24   J GURULE                EMAIL TO UCC MEMBERS RE TOUR OF           0.3             415.50
                                     DEBTORS' BUSINESS OPERATIONS AND
                                     UPDATES

  07/26/24   J GURULE                T/C WITH A. BURNS RE UCC MEETING          0.1             138.50

  07/28/24   J GURULE                EMAIL WITH A. BURNS RE RESEARCH ON        0.1             138.50
                                     AGRICULTURE LIENS

  07/29/24   G OLIVERA               PREPARE AGENDA FOR UCC CALL               0.4             506.00

  07/29/24   J GURULE                EMAILS WITH A. BURNS RE LIEN ANALYSIS     0.1             138.50
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  Date       Name                     Description                             Hours           Amount

  07/30/24   G OLIVERA                ATTEND WEEKLY UCC CONFERENCE CALL         0.5             632.50

  07/30/24   N MOLNER                 ATTEND UCC BI-WEEKLY STANDING CALL        0.5             535.00

  07/30/24   J GURULE                 BI-WEEKLY UCC MEETING                     0.5             692.50

  07/30/24   J GURULE                 DRAFT AND SEND UCC AGENDA FOR BI-         0.1             138.50
                                      WEEKLY STANDING CALL

  07/30/24   M KREMER                 WEEKLY UCC CALL                           0.5             702.50

  07/30/24   J GURULE                 PREP FOR UCC MEETING AND REVIEW           0.2             277.00
                                      MATERIALS FOR SAME

  Total      B150 MEETINGS OF & COMMUNICATION W/ CREDITORS                     12.2          15,874.00

  B160 FEE/EMPLOYMENT APPLICATIONS

  07/16/24   G OLIVERA                CONFERENCE CALL WITH OMM TEAM RE:         0.5             632.50
                                      OMM RETENTION APPLICATION HEARING
                                      STRATEGY

  07/16/24   N MOLNER                 RESEARCH IN PREPARATION FOR OMNIBUS       0.4             428.00
                                      HEARING

  07/16/24   N MOLNER                 MEETING WITH M. KREMER AND G. OLIVERA     0.3             321.00
                                      REGARDING OMNIBUS HEARING PREP

  07/16/24   N MOLNER                 ATTEND CALL WITH OMM TEAM REGARDING       0.5             535.00
                                      OMNIBUS HEARING

  07/16/24   N MOLNER                 DRAFT TALKING POINTS FOR OMNIBUS          0.5             535.00
                                      HEARING

  07/16/24   M KREMER                 CALL WITH OMM TEAM RE: STRATEGY FOR       0.5             702.50
                                      HEARING

  07/16/24   J GURULE                 INTERNAL OMM CALL IN PREP FOR OMM         0.5             692.50
                                      RETENTION APPLICATION HEARING

  07/17/24   G OLIVERA                DRAFT AND EDIT SCRIPT FOR JULY 18         0.9           1,138.50
                                      OMNIBUS HEARING ON OMM RETENTION
                                      APPLICATION

  07/17/24   M KREMER                 REVIEW AND REVISE HEARING REMARKS ON      0.3             421.50
                                      OMM RETENTION APPLICATION

  07/22/24   G OLIVERA                REVIEW COURT’S ORDER APPROVING            0.1             126.50
                                      RETENTION OF OMM

  07/29/24   G OLIVERA                REVIEW AND REVISE O’MELVENY FEE           0.8           1,012.00
                                      STATEMENTS

  07/29/24   N MOLNER                 COMMUNICATIONS WITH G. OLIVERA            0.2             214.00
                                      REGARDING INTERIM FEE APPLICATION
                                      PROCEDURES

  07/30/24   G OLIVERA                DRAFT AND EDIT MOTION FOR INTERIM         1.9           2,403.50
                                      COMPENSATION AND RELATED NOTICE FOR
                                      MAY AND JUNE 2024 BILLS

  07/30/24   G OLIVERA                REVIEW AND EDIT OMM’S MAY AND JUNE        2.7           3,415.50
                                      2024 BILLS

  07/30/24   J GURULE                 CONFERENCE CALL WITH OMM TEAM RE FEE      0.1             138.50
                                      STATEMENTS

  Total      B160 FEE/EMPLOYMENT APPLICATIONS                                  10.2          12,716.50
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  B190 OTHER CONTESTED MATTERS

  07/01/24   J GURULE                CONFERENCE CALL WITH OMM TEAM RE           0.2             277.00
                                     CASE STATUS AND STRATEGY

  07/02/24   J GURULE                CONFERENCE CALL WITH DEBTORS'              0.5             692.50
                                     COUNSEL FOR WEEKLY UPDATES

  07/02/24   J GURULE                CONFERENCE CALL WITH OMM TEAM RE           0.1             138.50
                                     CASE STATUS AND STRATEGY

  07/08/24   G OLIVERA               REVIEW AND ANALYZE STIPULATION             0.4             506.00
                                     BETWEEN RABO AGRIFINANCE LLC AND
                                     IDAHO AGCREDIT FOR AN ORDER
                                     AUTHORIZING PRODUCTION OF DOCUMENTS

  07/09/24   N MOLNER                DRAFT CLIENT SUMMARY OF DEBTORS'           0.4             428.00
                                     STIPULATION WITH RABO REGARDING SALE
                                     MOTION, CASH COLLATERAL MOTION, AND
                                     EXCLUSIVITY MOTION

  07/11/24   G OLIVERA               REVIEW STIPULATION BETWEEN DEBTORS         0.2             253.00
                                     AND METLIFE RE PENDING MOTIONS

  07/11/24   M KREMER                REVIEW UST OBJECTION TO BUY/SELL           1.0           1,405.00
                                     MOTION (.3); REVIEW RABO OBJECTION TO
                                     506(C) MOTION (.3); REVIEW MET-LIFE
                                     STIPULATION (.2); REVIEW AND REVIEW
                                     SUMMARY TO UCC RE: THE SAME SAME (.2)

  07/11/24   M KREMER                EMAIL WITH DEBTORS RE: REVISIONS TO        0.3             421.50
                                     RABO STIPULATION (.2); REVIEW REVISED
                                     DRAFT (.1)

  07/12/24   G OLIVERA               REVIEW AND ANALYZE NOTICE OF SERVICE       0.3             379.50
                                     OF IDAHO AGCREDIT’S RESPONSE TO RABO
                                     AGROFINANCE LLC’S SUBPOENA TO
                                     PRODUCE DOCUMENTS

  07/12/24   M KREMER                REVIEW NOTICE OF SUBPOENAS AND EMAILS      0.2             281.00
                                     RE: THE SAME

  07/12/24   G OLIVERA               REVIEW DEBTORS’ NOTICE TO SERVE            0.3             379.50
                                     SUBPOENAS ON VARIOUS CREDITORS

  07/12/24   J GURULE                EMAILS WITH TEAM RE SUBPOENAS ON           0.1             138.50
                                     VARIOUS CREDITORS

  07/15/24   M KREMER                REVIEW ORDER TO BUY AND SELL               0.2             281.00
                                     EQUIPMENT AND EMAILS WITH G. OLIVERA
                                     RE: THE SAME

  07/16/24   G OLIVERA               REVIEW DEBTORS’ STATUS REPORT FOR          0.1             126.50
                                     JULY 2024 OMNIBUS HEARING

  07/16/24   G OLIVERA               PREPARE FOR JULY 18 HEARING                1.3           1,644.50

  07/17/24   G OLIVERA               COMMUNICATIONS WITH OMM AND DEBTORS’       0.5             632.50
                                     COUNSEL RE: BUY/SELL, CASH COLLATERAL,
                                     AND EXCLUSIVITY PROPOSED ORDERS

  07/17/24   G OLIVERA               REVIEW AND EDIT BUY/SELL, CASH             0.4             506.00
                                     COLLATERAL, AND EXCLUSIVITY PROPOSED
                                     ORDERS

  07/18/24   G OLIVERA               PARTICIPATE IN JULY 18 OMNIBUS HEARING     1.8           2,277.00
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  Date       Name                      Description                              Hours           Amount

  07/18/24   N MOLNER                  DRAFT CLIENT-FACING SUMMARY OF             0.3             321.00
                                       CONTERRA OBJECTION TO CASH
                                       COLLATERAL ORDER

  07/18/24   M KREMER                  PREPARE FOR HEARING AND REVISE             2.7           3,793.50
                                       REMARKS (.6); ATTEND HEARING (1.9);
                                       CONFER WITH J. GURULE RE: HEARING (.2)

  07/18/24   N MOLNER                  PREPARE FOR AND ATTEND HEARING ON          2.0           2,140.00
                                       CASH COLLATERAL MOTION, BUY/SELL
                                       MOTION, RETENTION APPLICATION, AND
                                       EXCLUSIVITY MOTION

  07/18/24   J GURULE                  CONFERENCE CALL WITH M. KREMER RE          0.2             277.00
                                       HEARING UPDATES

  07/19/24   M KREMER                  REVISE OVERVIEW OF HEARING AND EMAIL       0.3             421.50
                                       UCC RE: SAME

  07/23/24   J GURULE                  EMAILS WITH DEBTORS' COUNSEL RE SITE       0.1             138.50
                                       VISIT

  07/31/24   G OLIVERA                 REVIEW THE COURT’S ORDER GRANTING          0.1             126.50
                                       STIPULATION FOR AN ORDER AUTHORIZING
                                       PRODUCTION OF DOCUMENTS BETWEEN
                                       RABO AGRIFINANCE LLC AND AMERICAN
                                       AGCREDIT

  07/31/24   G OLIVERA                 REVIEW COURT’S ORDER GRANTING              0.1             126.50
                                       DEBTORS OMNIBUS MOTION FOR AUTHORITY
                                       TO PURCHASE AND SELL EQUIPMENT AND
                                       MACHINERY

  Total      B190 OTHER CONTESTED MATTERS                                        14.1          18,112.00

  B195 NON-WORKING TRAVEL

  07/30/24   J GURULE                  TRAVEL TO TWIN FALLS FOR SITE VISIT        4.4           3,047.00

  Total      B195 NON-WORKING TRAVEL                                              4.4           3,047.00

  B210 BUSINESS OPERATIONS

  07/01/24   M KREMER                  REVIEW OVERVIEW OF REFINANCING             0.5             702.50
                                       PROCESS AND VARIANCE REPORTS

  07/03/24   G OLIVERA                 REVIEW AND ANALYZE NOTICE OF               0.3             379.50
                                       EQUIPMENT PURCHASE SENT BY
                                       MILLENKAMP DEBTORS RE: ARNOLD
                                       MACHINERY

  07/22/24   G OLIVERA                 REVIEW AND ANALYZE DEBTORS’ MONTHLY        0.4             506.00
                                       OPERATING REPORTS

  07/22/24   J GURULE                  EMAILS WITH ARMORY TEAM AND DEBTORS        0.2             277.00
                                       RE BUSINESS OPERATIONS

  07/23/24   G OLIVERA                 REVIEW AND ANALYZE THE DEBTORS’            0.6             759.00
                                       MONTHLY OPERATING REPORTS

  07/23/24   J GURULE                  CONFERENCE CALL WITH D. HEIDA AND D.       0.4             554.00
                                       MCDONALD RE FACILITY TOUR PLANNING

  07/30/24   G OLIVERA                 REVIEW AND ANALYZE DEBTORS’ MONTHLY        0.6             759.00
                                       FINANCIAL STRENGTH REPORTING

  07/31/24   J GURULE                  DAY LONG TOUR AND MEETINGS AT DAIRY       10.0          13,850.00
                                       AND FARM FACILITIES WITH MANAGEMENT
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  Date       Name                       Description                                Hours           Amount

  Total      B210 BUSINESS OPERATIONS                                               13.0          17,787.00

  B230 FINANCING/CASH COLLATERAL

  07/01/24   G OLIVERA                  REVIEW AND ANALYZE CASH COLLATERAL           0.8           1,012.00
                                        BUDGET

  07/03/24   G OLIVERA                  REVIEW AND ANALYZE UPDATED CASH              0.8           1,012.00
                                        COLLATERAL BUDGET THROUGH 12/31 AND
                                        2025/2026 MONTHLY CASH FLOW
                                        PROJECTIONS

  07/03/24   G OLIVERA                  REVIEW ARMORY ANALYSIS OF WEEKLY             0.4             506.00
                                        VARIANCE REPORTING

  07/03/24   G OLIVERA                  REVIEW AND ANALYZE SUPPLEMENT TO             0.4             506.00
                                        DEBTORS' SECOND MOTION FOR CONTINUED
                                        USE OF CASH COLLATERAL

  07/08/24   G OLIVERA                  REVIEW AND ANALYZE DEBTORS’ WEEKLY           0.8           1,012.00
                                        DIP VARIANCE REPORTING

  07/09/24   G OLIVERA                  REVIEW AND ANALYZE DEBTORS’                  0.2             253.00
                                        STIPULATION WITH RAF

  07/11/24   G OLIVERA                  REVIEW AND ANALYZE DEBTORS’ WEEKLY           0.8           1,012.00
                                        DIP VARIANCE REPORTING

  07/15/24   G OLIVERA                  REVIEW AND ANALYZE DEBTORS’ PROPOSED         0.3             379.50
                                        CASH COLLATERAL ORDER

  07/15/24   M KREMER                   REVIEW AND REVISE CASH COLLATERAL            0.5             702.50
                                        ORDER (.3); EMAILS WITH OMM TEAM RE: THE
                                        SAME (.2)

  07/16/24   G OLIVERA                  COMMUNICATIONS WITH COUNSEL FOR              0.4             506.00
                                        DEBTORS RE: CASH COLLATERAL ORDER

  07/16/24   G OLIVERA                  DRAFT EDITS TO PROPOSED CASH                 0.4             506.00
                                        COLLATERAL ORDER

  07/16/24   G OLIVERA                  REVIEW AND ANALYZE FORBES MARKETING          0.9           1,138.50
                                        PITCH DECK RE: DEBTORS’ BUSINESS

  07/16/24   G OLIVERA                  REVIEW ARMORY ANALYSIS OF WEEKLY             0.6             759.00
                                        VARIANCE REPORTS

  07/17/24   M KREMER                   REVIEW UPDATED ORDERS FOR CASH               0.3             421.50
                                        COLLATERAL AND EMAILS WITH OMM TEAM
                                        RE: THE SAME

  07/18/24   G OLIVERA                  REVIEW AND ANALYZE WEEKLY DIP                0.8           1,012.00
                                        VARIANCE REPORT

  07/18/24   G OLIVERA                  REVIEW AND ANALYZE CONTERRA’S                0.3             379.50
                                        OBJECTION TO FORM OF CASH COLLATERAL
                                        ORDER

  07/19/24   G OLIVERA                  REVIEW FINAL VERSION OF CASH                 0.3             379.50
                                        COLLATERAL ORDER

  07/19/24   G OLIVERA                  COMMUNICATIONS WITH DEBTORS COUNSEL          0.4             506.00
                                        AND COUNSEL FOR SECURED CREDITORS
                                        RE: CASH COLLATERAL HEARING

  07/22/24   J GURULE                   CONFERENCE CALL WITH ARMORY TEAM RE:         0.2             277.00
                                        BUSINESS OPERATIONS
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  07/24/24   G OLIVERA               EMAIL DEBTORS’ COUNSEL RE: CASH             0.1             126.50
                                     COLLATERAL ORDER

  07/24/24   J GURULE                REVIEW SECURED LENDER RESEARCH              0.1             138.50
                                     QUESTION

  07/26/24   J GURULE                ANALYSIS OF EMAILS AMONG RABO AND           0.1             138.50
                                     DEBTORS RE FORBES UPDATES RE:
                                     FINANCING

  07/29/24   G OLIVERA               PARTICIPATE IN CALL WITH DEBTORS’           0.5             632.50
                                     BANKERS RE: FINANCING

  07/29/24   G OLIVERA               COMMUNICATIONS WITH OMM AND ARMORY          0.2             253.00
                                     TEAMS RE: BUDGET

  07/29/24   G OLIVERA               REVIEW AND ANALYZE DEBTORS’ WEEKLY          0.6             759.00
                                     DIP VARIANCE REPORTING

  07/29/24   J GURULE                ATTEND FORBES MEETING RE FINANCING          0.5             692.50
                                     EFFORTS

  07/29/24   J GURULE                EMAILS W MCDONALD RE BUDGET DEFAULT         0.1             138.50

  07/29/24   J GURULE                PREPARE FOR FINANCING CALL WITH             0.6             831.00
                                     FORBES

  07/29/24   M KREMER                WEEKLY FINANCE CALL WITH FORBES             0.5             702.50

  07/30/24   G OLIVERA               REVIEW AND ANALZYE ARMORY’S WEEKLY          0.6             759.00
                                     VARIANCE ANALYSIS

  07/30/24   G OLIVERA               REVIEW INTERIM ORDER GRANTING               0.4             506.00
                                     DEBTORS SECOND MOTION FOR CONTINUED
                                     USE OF CASH COLLATERAL

  Total      B230 FINANCING/CASH COLLATERAL                                     13.9          17,957.50

  B300 CLAIMS & PLAN

  07/03/24   G OLIVERA               REVIEW AND ANALYZE MOTION TO AMEND          0.2             253.00
                                     ORDER ON AMENDED MOTION TO ALLOW
                                     AND PAY SECTION 503(B)(9) CLAIMS

  07/24/24   G OLIVERA               RESEARCH TREATMENT OF AGRICULTURE           0.8           1,012.00
                                     LIENS IN IDAHO TO DETERMINE VALIDITY OF
                                     CERTAIN CREDITORS’ ASSERTED SECURED
                                     CLAIMS

  07/24/24   G BARRETT               RESEARCH ISSUE RE: PERFECTION OF            3.6           1,332.00
                                     AGRICULTURAL LIENS IN IDAHO

  07/29/24   G OLIVERA               REVIEW DEBTORS’ AMENDED SCHEDULE D          0.2             253.00

  Total      B300 CLAIMS & PLAN                                                  4.8           2,850.00

  B320 PLAN & DISCLOSURE STATEMENT

  07/02/24   J GURULE                CONFERENCE CALL WITH ARMORY TEAM RE         0.2             277.00
                                     STRATEGY AND PLAN MODEL

  07/15/24   J GURULE                EMAILS WITH OMM TEAM RE DEBTORS'            0.1             138.50
                                     EXCLUSIVITY MOTION

  07/15/24   M KREMER                REVIEW EXCLUSIVITY ORDER AND EMAIL          0.2             281.00
                                     WITH OMM TEAM

  07/18/24   J GURULE                EMAILS W OMM TEAM RE HEARING UPDATES        0.1             138.50
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  Client: MILLENKAMP CATTLE UNSECURED CREDITORS’ COMMITTEE                                 08/15/24
  Matter Name: MILLENKAMP CATTLE CHAPTER 11                                       Invoice: 1183798
                                                                                       Page No. 9


  Date        Name                              Description               Hours           Amount

  Total       B320 PLAN & DISCLOSURE STATEMENT                              0.6             835.00

  Total                                                                    79.8         $97,818.00


  Less 15% Discount                                                                    (14,672.70)

  Total Fees After Adjustment                                                            83,145.30

  Disbursements
  Expense Report Other (Incl. Out of Town Travel)                                          $837.90
  Online Research                                                                           186.31

  Total Disbursements                                                                    $1,024.21


  Total Current Invoice                                                              $84,169.51
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  Client: MILLENKAMP CATTLE UNSECURED CREDITORS’ COMMITTEE                                08/15/24
  Matter Name: MILLENKAMP CATTLE CHAPTER 11                                      Invoice: 1183798
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 Timekeeper Summary
  Timekeeper                         Title                        Rate   Hours           Amount
  MATTHEW P. KREMER                  Partner                  1,405.00    11.8          16,579.00
  JULIAN GURULE                      Partner                  1,385.00    19.7          27,284.50
  JULIAN GURULE                      Partner                    692.50     4.4           3,047.00
  Total for Partner                                                       35.9          46,910.50

  GABRIEL L. OLIVERA                 Counsel                  1,265.00    33.1          41,871.50
  Total for Counsel                                                       33.1          41,871.50

  NICOLE MOLNER                      Associate                1,070.00     7.2           7,704.00
  Total for Associate                                                      7.2           7,704.00

  GAVIN REECE BARRETT                Assoc - Summer            370.00      3.6           1,332.00
  Total for Assoc - Summer                                                 3.6           1,332.00


  Total                                                                   79.8          97,818.00
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                                           Exhibit C

                                        Narrative Sheet

               Information Requested                          Information Given
   I. BACKGROUND: The background information of the bankruptcy case:
   A. Date the bankruptcy petition was filed. April 2, 2024
       Date of the “Order Authorizing
   B.                                          July 22, 2024
       Employment of Counsel”:
   C. Date services commenced.                 May 21, 2024
                                               See the attached Exhibit A which reflects
       Rate Firm charges its non-bankruptcy
   D.                                          Firm’s hourly rates prior to voluntary 15%
       clients for similar services.
                                               discount.
   E. Application is final or interim.         Interim
       Time period of the services or expenses
   F.                                          May 21, 2024 through July 31, 2024
       covered by the Application.
  II. CASE STATUS: To the best of the Firm’s knowledge, the financial condition and
       status of the case is as follows:
       The amount of cash on hand or on
   A.                                          No funds are being held in trust with the Firm.
       deposit in the estate.
                                               To the best of the Firm’s knowledge, the only
       Amount and nature of accrued unpaid, other unpaid administrative expenses are those
   B.
       administrative expenses                 of the estate’s other professionals and section
                                               503(b)(9) claims.
                                               As of August 19, 2024, the estate currently
                                               holds $1,299,259 in funds (which varies day-
       The amount of unencumbered funds in
   C.                                          to-day) according to the applications for
       the estate.
                                               allowance of interim fees filed by Debtors’
                                               counsel, Johnson May [ECF No. 565].
  III. PROJECT SUMMARY: Description of each professional project or task for which
       compensation and reimbursement is sought:
                                               See Exhibit B attached hereto for a detailed
                                               description of what has been performed on
                                               behalf of the Committee by the Firm and the
                                               fees and costs incurred in these projects. The
                                               project categories included: Case
                                               Administration, Asset Analysis & Recovery,
                                               Meetings of and Communications with
   A. Description of projects
                                               Creditors, Fee/Employment Applications,
                                               Other Contested Matters,
                                               Assumption/Rejection of Leases/Contracts,
                                               Business Operations, Real Estate, Claims and
                                               Plan, Non-Working Travel, Financing/Cash
                                               Collateral, Bankruptcy-Related Advice,
                                               General Bankruptcy Advice/Opinions, Relief


 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
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              Information Requested                      Information Given
                                           from Stay Proceedings, and Plan and
                                           Disclosure Statement.
                                           Case Administration was necessary in order
                                           to discuss various items with the client, co-
                                           counsel, financial advisor and other parties,
                                           respond to various motions filed during the
                                           First Interim Period, and address related
                                           orders, and drafting critical documents,
                                           conducting research, and selecting local
                                           counsel.

                                           Asset Analysis & Recovery was necessary in
                                           order to request, maintain, and collect
                                           documents and information from the Debtors
                                           and evaluate liens and title in furtherance of
                                           Chapter 11 plan strategy.

                                           Meetings of and Communications with
                                           Creditors was necessary to prepare for and
                                           attend conferences with the Committee and
                                           Debtors regarding matters related to the case,
                                           status updates, and negotiations, and
                                           correspond with the Committee and counsel
  B.   Necessity of projects.
                                           for the Debtors via phone call and/or email.

                                           Fee/Employment Applications was necessary
                                           in order to draft and prepare applications to
                                           employ and draft monthly fee applications and
                                           this first interim fee application.

                                           Other Contested Matters was necessary in
                                           order to correspond with the counsel for the
                                           Debtors, co-counsel, financial advisor, and
                                           creditors regarding multiple contested matters,
                                           including use of cash collateral, DIP approval,
                                           503(b)(9) motion, critical vendor motion, and
                                           sale motion.

                                           Assumption/Rejection of Leases/Contracts
                                           was necessary in order to review and evaluate
                                           motions to compel contract assumption, and to
                                           correspond with financial advisor, and counsel
                                           for the Debtors regarding the same.




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              Information Requested                       Information Given
                                            Business Operations was necessary to review
                                            regular reports on Debtors’ finances and
                                            operations, evaluating Debtors’ financing
                                            strategy, and strategizing business operations
                                            with financial advisors.

                                            Real Estate was necessary to review and
                                            analyze Debtors’ real property assets.

                                            Claims and Plan was necessary in order to
                                            respond to the Debtors’ 503(b)(9) motion.

                                            Non-Working Travel was travel billed at ½
                                            rate for travel to/from hearings and site-visits
                                            with Debtors.

                                            Financing/Cash Collateral was necessary in
                                            order to correspond with multiple parties
                                            regarding motions to use cash collateral and
                                            draft responses regarding same, evaluate
                                            Debtors’ budgets, and correspond with counsel
                                            for the Debtors, financial advisors, and the
                                            Committee about the Debtors’ financing
                                            efforts.

                                            Bankruptcy-Related Advice was necessary
                                            communications with Debtors’ counsel, and
                                            financial advisors to develop strategy, and
                                            reviewing legal documents and preparing
                                            analyses for case strategy.

                                            General Bankruptcy Advice/Opinions

                                            Relief from Stay Proceedings was necessary
                                            to review and evaluate strategy with respect to
                                            motions for relief from stay.

                                            Plan and Disclosure Statement was
                                            necessary in order to correspond with counsel
                                            to the Debtors, the Committee, and financial
                                            advisors regarding the drafting of and strategy
                                            for a chapter 11 plan of reorganization.

                                            The projects have allowed the Committee to
  C.   Benefit of projects to the estate.
                                            make informed strategic decisions, attend


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 COMPENSATION AND REIMBURSEMENT OF EXPENSES - 12
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              Information Requested                            Information Given
                                                 essential meetings and court hearings, draft
                                                 various applications and motions, analyze the
                                                 Debtors’ financing options, and otherwise
                                                 ensure the transparency and forward progress
                                                 of the bankruptcy proceeding.
  D.   Status of project.                        Interim.
       Identification of each person providing   See the attached Exhibits A and B.
  E.
       services on the projects.
       Number of hours spent, the amount of      See the attached Exhibits A and B.
  F.   compensation requested for each
       professional and para-professional.
  G.   Itemized time and services entries.       See the attached Exhibit B.




 FIRST APPLICATION OF O’MELVENY & MYERS LLP FOR ALLOWANCE AND PAYMENT OF INTERIM
 COMPENSATION AND REIMBURSEMENT OF EXPENSES - 13
